Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 1 of 55




                                        TAB 337
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 2 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                     October 16, 2009
                                         Nashville, TN

                                                                               1
                  IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF MASSACHUSETTS



         In re: PHARMACEUTICAL INDUSTRY           )

         AVERAGE WHOLESALE PRICE LITIGATION )

                                                  )

         ___________________________________)

                                                  )MASTER CASE NO

                                                  )01-12257-PBS

         THIS DOCUMENT RELATES TO:                )

         United States of America ex rel.         )SUBCATEGORY NO

         Ven-A-Care of the Florida                )06-11337-PBS

         Keys, Inc., et al. v. Boehringer         )

         Ingelheim Corporation, et al.,           )

         Civil Action No. 07-10248-PBS.           )

         ___________________________________)



               30(b)(1) and 30(b)(6)

               VIDEOTAPED DEPOSITION OF:

               CAROLYN HELTON

               Taken on Behalf of Roxane Laboratories

               October 16, 2009




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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 3 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                   October 16, 2009
                                              Nashville, TN
                                                                              2 (Pages 2 to 5)
                                                       2                                                          4
 1    APPEARANCES:                                          1               INDEX
 2                                                          2   WITNESS: CAROLYN HELTON
 3    For the U.S. Department of Justice:                   3           INDEX OF EXAMINATIONS
 4         JAMES J. FAUCI, ESQ.                             4                                Page
 5         Assistant United States Attorney                 5   By Mr. Gortner                      7
 6         John Joseph Moakley Federal Courthouse           6   By Mr. Fauci                      127
 7         1 Courthouse Way, Suite 9200                     7   By Mr. Gortner                     134
 8         Boston, Massachusetts 02210                      8            INDEX OF EXHIBITS
 9         617.748.3298                                     9                                Page
10         jeff.fauci@usdoj.gov                            10   Exhibit Roxane 260 Declaration             9
11                                                         11   Exhibit Roxane 261 Red Book Excerpt           46
12    For Roxane Laboratories, Boehringer Ingelheim, and   12   Exhibit Roxane 262 Documents - Drug Pricing Boxes 70
13    Related Companies:                                   13   Exhibit Roxane 263 HCFA Transmittal          108
14         ERIC GORTNER, ESQ.                              14   Exhibit Roxane 264 Doxorubicin Hydro. Array      110
15         Kirkland & Ellis                                15   Exhibit US 265 Search Database            130
16         300 North LaSalle Street                        16   Exhibit US 266 Ipratropium Array          131
17         Chicago, Illinois 60654                         17
18         312.862.2285                                    18
19         ERIC.GORTNER@KIRKLAND.COM                       19
20                                                         20
21                                                         21
22                                                         22

                                                       3                                                          5
 1    APPEARANCES (Continued):                              1            The videotaped deposition of
 2                                                          2   CAROLYN HELTON, taken on behalf of the Roxane
 3    For the Dey Defendants:                               3   Laboratories, on the 16th day of October, 2009, at
 4         MARISA A. LORENZO, ESQ.                          4   9:02 a.m. in the offices of Walker, Tipps &
 5         Kelley Drye & Warren                             5   Malone, 2300 One Nashville Place, 150 Fourth
 6         101 Park Avenue                                  6   Avenue North, Nashville, Tennessee, for all
 7         New York, New York 10178                         7   purposes under the Federal Rules of Civil
 8         212.808.7697                                     8   Procedure.
 9         mlorenzo@kelleydrye.com                          9            The formalities as to notice,
10                                                         10   caption, certificate, et cetera, are waived. All
11    Also Present: Rudy Smith, Videographer               11   objections, except as to the form of the
12                                                         12   questions, are reserved to the hearing.
13                                                         13            It is agreed that Elisabeth A.
14                                                         14   Miller, being a Notary Public and Court Reporter
15                                                         15   for the State of Tennessee, may swear the witness,
16                                                         16   and that the reading and signing of the completed
17                                                         17   deposition by the witness are reserved.
18                                                         18
19                                                         19
20                                                         20
21                                                         21                ***
22                                                         22


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 4 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                            3 (Pages 6 to 9)
                                                      6                                                        8
 1              PROCEEDINGS                                1   some which may have been processed by the Cigna
 2           THE VIDEOGRAPHER: Here begins Volume          2   DMERC that I know you have worked for.
 3    1, Videotape No. 1 in the deposition of Carolyn      3          I wanted to go over just a couple
 4    Helton; In re: Pharmaceutical Industry Average       4   rules, which I know will be familiar to you from
 5    Wholesale Price Litigation; in the United States     5   your prior deposition.
 6    District Court, District of Massachusetts. Case      6          The first is to make sure that you give
 7    number is MDL1456. Today's date is October the       7   verbal answers of either yes or no rather than
 8    15th [sic], 2009. Time on the video monitor is       8   nodding your head so that the court reporter can
 9    9:02 a.m.                                            9   get a clear answer for you. Is that okay?
10           The video operator today is Rudy Smith.      10       A. That is okay.
11    The video deposition is taking place at Walker,     11       Q. And I'll try to remind you. Sometimes
12    Tipps & Malone, Nashville, Tennessee.               12   we all lapse into saying uh-huh or nodding our
13           Counsel, please identify yourselves and      13   head, so I'll try to remind you of that as best I
14    state whom you represent.                           14   can.
15           MR. GORTNER: Eric Gortner from               15          The other rule is to make sure that we
16    Kirkland & Ellis representing Roxane Laboratories   16   try not to speak over each other. Sometimes you
17    and Boehringer Ingelheim and related companies.     17   may think you know where my question is going or
18           MR. FAUCI: This is Jeff Fauci from the       18   how it will end. But if possible, please wait
19    United States Attorney's Office, District of        19   for the question to end so that we can have a
20    Massachusetts, representing the United States.      20   clear question and answer and not be talking over
21           THE VIDEOGRAPHER: Court reporter,            21   each other. Okay?
22    would you please swear in the witness.              22       A. Okay.
                                                      7                                                        9
 1            MR. FAUCI: Marisa.                           1       Q. If you need a break at any time,
 2            MS. LORENZO: And Marisa Lorenzo from         2   please let me know. We're happy to take a break.
 3    Kelley, Drye & Warren representing the Dey           3       A. Okay.
 4    defendants.                                          4       Q. And if you don't understand a question
 5            THE VIDEOGRAPHER: Reporter, would use        5   that I'm asking, feel free to ask me to clarify
 6    please swear in the witness.                         6   it or repeat the question. I'm happy to do so.
 7               CAROLYN HELTON, was called as a           7       A. Okay.
 8    witness, and after having been first duly sworn,     8           (Marked Exhibit Roxane 260.)
 9    testified as follows:                                9   BY MR. GORTNER:
10            MR. GORTNER: Just for the record,           10       Q. I'm going to hand you what we have
11    although this deposition was noticed as a           11   marked as Roxane Exhibit 260. And this is the
12    30(b)(1) deposition, counsel have agreed that the   12   declaration that you submitted in this case. And
13    testimony will also serve as 30(b)(6) deposition    13   you recognize this document, don't you?
14    testimony for the Cigna DMERC.                      14       A. Yes.
15               EXAMINATION                              15       Q. Could you explain generally how you
16    BY MR. GORTNER:                                     16   came to sign that document and how you were
17        Q. Good morning, Ms. Helton.                    17   approached about preparing such a document?
18        A. Good morning.                                18       A. The declaration, I was approached by
19        Q. As you know, my name is Eric Gortner,        19   the U.S. Attorney's Office that additional
20    and I represent Roxane Laboratories and certain     20   information was needed concerning certain
21    other defendants in this case which involves,       21   aspects, so I was asked to review certain data
22    among other issues, claims related to Medicare,     22   and then try to put together my best recollection


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 5 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                October 16, 2009
                                             Nashville, TN
                                                                        4 (Pages 10 to 13)
                                                    10                                                       12
 1    and -- of what the events were.                      1       Q. And my question is, were you provided
 2       Q. Do you recall what aspects you were            2   a particular program memoranda or a citation to
 3    asked to look into?                                  3   that by counsel, or did you go back and find
 4       A. The aspects for the declaration was            4   program memoranda on your own?
 5    looking at how the prices change if you change       5          MR. FAUCI: Object to the form.
 6    the average wholesale pricing within your arrays.    6   BY MR. GORTNER:
 7       Q. Were you asked to look into the issue          7       Q. You can -- I'm sorry. Let me clarify
 8    of how Cigna classified generic drugs versus         8   one -- one issue that might come up in a
 9    brand drugs?                                         9   deposition is there will be times I will ask
10       A. On this particular declaration, I do          10   questions that counsel for the Department of
11    not believe so. Let me --                           11   Justice may object and will object to the form of
12       Q. Let me try --                                 12   the question. But unless counsel instructs you
13       A. Yes.                                          13   not to answer the question, you'll still go ahead
14       Q. Excuse me?                                    14   and answer the question anyway.
15       A. I'm sorry.                                    15          This is one of those instances.
16       Q. That's okay.                                  16       A. Originally we were asked to explain
17       A. Actually, yes. There was a question           17   how we did the pricing and then if we had a basis
18    that came up as to how we did look at brand         18   for it. We -- I believe that I sent -- or Barbara
19    names, so, yes, I did respond on that.              19   Douglas had provided that CMS transmittal in the
20       Q. Okay. And are you looking at Page 13          20   first information. So then it was sent back to
21    and 14 of your declaration? Is that the section?    21   me, Is this the one you're referring to.
22       A. Yes.                                          22       Q. Okay. And when you say the first
                                                    11                                                       13
 1       Q. What documents -- well, let me take a          1   information, just so we're on the same page, are
 2    step back. Were you provided any documents from      2   you referring to the -- the documents that Cigna
 3    counsel to review?                                   3   had produced at earlier time points in the
 4       A. I was provided documents, one from the         4   process of this litigation?
 5    CMS, which we had already provided based on --       5      A. Yes.
 6    from -- from CMS's instructions, so that's what      6      Q. Okay. So there was a program
 7    we went back and looked at just to make sure that    7   memoranda in -- in that initial production that
 8    that was how we were basing it, which is what we     8   you made reference to and then counsel asked you
 9    were.                                                9   whether that was, in fact, the particular one
10          We had already given that information         10   that you were referring to; is that right?
11    in the -- when we provided the details.             11      A. I believe that is the case.
12       Q. What documents are you referring to?          12      Q. And were there any other documents
13       A. CMS gives instructions to the carriers        13   that were provided to you in the course of
14    on how to handle the drug pricing in determining    14   preparing your declaration with respect to this
15    the average wholesale pricing, so there was         15   issue of generic versus brand classification?
16    instructions there on how to make a determination   16      A. I was asked to take a look at some
17    between a brand name and a generic name.            17   other spreadsheets that -- that were sent to me
18       Q. Okay. Are you referring to -- to              18   to confirm if I could tell from that spreadsheet
19    what's sometimes called a CMS or HCFA program       19   how it was handled whether it was handled as a
20    memoranda? Is that the type of document that        20   brand or a generic.
21    you're referring to?                                21      Q. When you say a spreadsheet, are you
22       A. Yes.                                          22   referring to a spreadsheet with respect to how


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 6 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                        5 (Pages 14 to 17)
                                                     14                                                      16
 1    Cigna classified drugs? Sometimes we call them       1   BY MR. GORTNER:
 2    arrays in this litigation.                           2       Q. By current version you mean this 2009?
 3        A. It may have been Cigna but not Cigna          3       A. I do.
 4    DMERC, so --                                         4       Q. Okay. Is Cigna currently using the --
 5        Q. Okay. Maybe it was the Part B of              5   the CD-ROM version of the Red Book, or is it
 6    Cigna?                                               6   using an Internet based version of the Red Book?
 7        A. Yes.                                          7       A. We are using the CD.
 8        Q. I see. Okay. And I think -- we'll             8       Q. Okay. Did you look at any annual Red
 9    get to those -- I think we'll get to those           9   Books printed -- the printed annual Red Book?
10    documents a little bit later on today. And if we    10       A. I did not have the copy of the annual
11    do, let's make sure we're talking about the same    11   specifically that -- when the conversation was
12    -- the same document. Okay?                         12   going on for that year, so I may have looked at
13        A. (Witness nodded head.)                       13   pages that were -- but I don't -- I didn't have
14        Q. Now, in the course of preparing your         14   the actual physical annual when the conversation
15    declaration with respect to the issue of            15   -- for the year that we were discussing.
16    classifying generics versus brands, did you         16       Q. Now, in terms of the monthly Red
17    review any other documents aside from these         17   Books, what time frame did you look at? In other
18    arrays we're talking about and the program          18   words, what -- what years were these Red Books
19    memoranda that you referred to?                     19   from?
20        A. I don't quite understand that.               20       A. For this one, I just looked at a
21        Q. My question is, are there any other          21   couple of ones. I went back to 1993 and '4 --
22    documents that you reviewed to refresh your         22   I'm sorry, I didn't have '3. I went to '94,
                                                     15                                                      17
 1    recollection or understand how it was that Cigna     1   which was the oldest one I had.
 2    classified brands versus generics, other than the    2       Q. In preparing your declaration, did you
 3    documents we've just talked about?                   3   have any conversations or any correspondence with
 4       A. We looked at some of the Red Book.             4   any other DMERC representatives?
 5       Q. And when you mean Red Book, are you            5       A. No.
 6    referring to the Red Book CD-ROMs or the -- the      6       Q. Did you have any conversations or
 7    hard copy printed versions?                          7   correspondence with any individuals that worked
 8       A. Both.                                          8   at Cigna relating to the classification of
 9       Q. Both? Okay.                                    9   generics versus brands?
10           So tell -- just explain to me in more        10       A. I did, but not from a standpoint of
11    detail what Red Books you looked at, which          11   asking that person but more of a standpoint of
12    versions and if you can recall the years as well.   12   that person is my backup, and we have to train on
13           MR. FAUCI: I would just counsel the          13   it just in the event that I couldn't come, if
14    witness not to reveal any communications that she   14   something happened to me.
15    had with any DOJ attorneys or her own attorneys     15       Q. I'm not sure I understand that answer.
16    at Cigna regarding the transmittal of any legal     16   Can you explain that a little bit more --
17    advice. It's fine to answer the question with       17       A. Okay.
18    that in mind.                                       18       Q. -- in terms of -- maybe it would be
19           THE WITNESS: I looked at the hard copy       19   helpful to know the nature of the conversation
20    old monthly Red Books and how they were             20   that you had with this individual.
21    formatted, and then I looked at current version     21       A. For Cigna, we try to make it where we
22    Red Book CD.                                        22   have dual backups so that some person can always


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 7 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                October 16, 2009
                                            Nashville, TN
                                                                       6 (Pages 18 to 21)
                                                   18                                                        20
 1    fill in for you in the event -- I'm sorry, if     1     Cigna arrays, who would have been the person that
 2    something happens to you, you're deceased or      2     would have made the initial determination of
 3    whatever. So the information is -- this person    3     classifying the product as either a generic or a
 4    is being trained as my backup, so we discuss how 4      brand?
 5    drugs were previously priced, how drugs are       5         A. For the DME, that would be me.
 6    currently priced. So it's in the context of the   6         Q. So you were the actual person that was
 7    old pricing versus the new pricing and training   7     looking at the -- the Red Book CD or the monthly
 8    her as a backup.                                  8     update or whatever medium of Red Book you were
 9        Q. What is this person's name?                9     looking at, looking at the name and how it was
10        A. Amber.                                    10     listed and making that determination of how these
11        Q. And how long has Amber been your          11     products should be classified in terms of
12    backup?                                          12     generics versus brands; is that right?
13        A. She's been training as my backup for      13         A. That's right.
14    about six months. I think it's about six months. 14         Q. Now, when you were preparing your
15        Q. Okay. So Amber wasn't involved in the     15     declaration, did you have a specific recollection
16    actual classification of the drugs that we're    16     of that particular Ipratropium Bromide-Novaplus
17    going to be talking about, and in particular     17     product?
18    there's a drug called Ipratropium                18         A. No, I did not.
19    Bromide-Novaplus that was in the Cigna arrays    19         Q. Okay. So at the time you were asked
20    roughly from 2001 up until 2004.                 20     to prepare your declaration, there was a
21            I take it Amber wasn't involved in that  21     situation where you remembered, Oh, I recall
22    process of classifying that drug in the Cigna    22     Ipratropium Bromide-Novaplus, and these are the
                                                   19                                                        21
 1    arrays; is that right?                              1   reasons specifically why I put this particular
 2        A. Correct, she was not with the company        2   product as a brand versus a generic?
 3    at that time.                                       3      A. That is correct.
 4        Q. So she wasn't able to provide you any        4      Q. So is what happened in a general sense
 5    information, was she, about how that particular     5   that you then went back to the arrays and went to
 6    drug, the Novaplus drug, was categorized by         6   the program memoranda and attempted to
 7    Cigna?                                              7   reconstruct how it was that this product was
 8        A. No. The conversation was strictly            8   classified as a brand versus a generic? Was that
 9    from my end giving her information.                 9   generally the process that you did?
10        Q. And what was the information you were       10          MR. FAUCI: Object to the form.
11    giving her just generally speaking?                11          THE WITNESS: That is correct.
12        A. Just generally going over the old           12   BY MR. GORTNER:
13    pricing standards and the classifications, using   13      Q. And at any point in the course of
14    the CMS instructions; and under the new pricing,   14   reviewing documents or arrays, did you obtain a
15    how we handle those and the exceptions based on    15   specific recollection of -- of how you actually
16    CMS.                                               16   were doing it or the decision process that you
17           It's sort of like she's learning the        17   engaged in for the Ipratropium Bromide-Novaplus
18    whole process. She has to know the old process;    18   product?
19    she has to know the current process.               19      A. For me, the Novaplus still doesn't
20        Q. Now, during the time period of 2001 to      20   stand out. The process is in place for me and
21    2004, and in particular the time period when the   21   applies across for, so I don't see a
22    Novaplus Ipratropium Bromide was put into the      22   differentiation between the Novaplus and the


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 8 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                October 16, 2009
                                             Nashville, TN
                                                                       7 (Pages 22 to 25)
                                                    22                                                       24
 1    process.                                            1   a writable one?
 2       Q. Okay. So you -- you -- is it fair to          2      A. Yes.
 3    say that you recall the process and you're          3      Q. Did you keep the earlier versions of
 4    assuming that the process was followed with         4   the -- of the declaration as PDFs on your
 5    respect to Ipratropium Bromide-Novaplus?            5   computer?
 6           MR. FAUCI: Object to the form.               6      A. I don't know for sure. Some of them
 7           THE WITNESS: Yes.                            7   may still be there, but I don't know.
 8    BY MR. GORTNER:                                     8          MR. GORTNER: Jeff, I'll request that
 9       Q. Aside from Amber, there was no one            9   those drafts get produced to us.
10    else that you have spoken with with respect to     10          MR. FAUCI: I'll just state for the
11    the classification of the Novaplus product?        11   record that we will not be producing those. I
12       A. That is correct.                             12   feel I'm letting this go quite far afield. We --
13       Q. Were there different drafts of this          13   we'll think about it after, but my -- I'll be
14    declaration, or was this the only single product   14   surprised if we produce those.
15    that you reviewed and signed?                      15          MR. GORTNER: Okay. Well, we'll take
16           MR. FAUCI: Same instruction I gave          16   that up at a different juncture.
17    earlier, but answer the question to the best of    17          MR. FAUCI: Sure.
18    your ability.                                      18   BY MR. GORTNER:
19           THE WITNESS: There were different           19      Q. Okay. And so there were some
20    drafts.                                            20   different versions. Do you recall whether the
21    BY MR. GORTNER:                                    21   versions differed with respect to the -- the
22       Q. Do you know what happened to those           22   issue of how you classified generics versus
                                                    23                                                       25
 1    drafts?                                             1   brands?
 2       A. I quite honestly do not know. I mean,         2      A. No.
 3    I think we combined them, but I can't say for       3      Q. So the changes would have been to
 4    sure that everything in every draft is in this      4   other -- other issues?
 5    one.                                                5      A. Yes.
 6       Q. How were they conveyed to you? Was it         6      Q. What issues do you recall changed in
 7    sent to you as a Word document in an e-mail, for    7   the different drafts?
 8    instance?                                           8          MR. FAUCI: I'll caution the witness
 9       A. I'm not sure that it was a Word               9   again not to reveal any communications with DOJ
10    document. It might have been a PDF document.       10   counsel or her own counsel that touch on legal
11       Q. Okay. So sent as a PDF?                      11   advice or other legal issues in the drafting of
12       A. Right.                                       12   the affidavit, but answer the question to the
13       Q. And then what happened? You would            13   best of your ability.
14    open it up and print the document?                 14   BY MR. GORTNER:
15       A. I didn't usually print the document. I       15      Q. Ms. Helton, feel free to go through
16    would read the document, make my changes, send     16   the declaration and take a look to see what
17    the document back.                                 17   sections you recall are different than this final
18       Q. How would you make your changes on a         18   version of -- was it a single earlier draft, or
19    PDF document?                                      19   were there multiple drafts?
20       A. Save it as a PDF on my system, open it       20      A. I believe that there were drafts for
21    with a form of PDF, save it as a different PDF.    21   two different possible cases or approaches.
22       Q. As a PDF that you can make changes to,       22      Q. What one might be for -- for a case


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 9 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                October 16, 2009
                                              Nashville, TN
                                                                        8 (Pages 26 to 29)
                                                     26                                                      28
 1    involving Roxane and one for Dey? Do you know        1       Q. You didn't look at what any other
 2    that?                                                2   DMERCs had -- representatives had testified about
 3       A. I'm not exactly sure on that.                  3   the way they priced or classified drugs?
 4           MR. FAUCI: I'll also object that I            4       A. No.
 5    believe Ms. Helton testified that there were no      5       Q. And have you ever spoken to any other
 6    changes to do with the classification of Novaplus    6   DMERC representative with respect to how they go
 7    areas dealing with Paragraphs 17 to 31 of her        7   about classifying generics versus brand drugs?
 8    declaration. That's the -- other than the Zenith     8          MR. FAUCI: In general or related to --
 9    Goldline issue, that is the limit of this            9          MR. GORTNER: In general.
10    deposition.                                         10          THE WITNESS: In general, yes.
11           So I'll just object to the extent the        11   BY MR. GORTNER:
12    question is asking about areas beyond those two     12       Q. And do you have a specific
13    topics.                                             13   recollection of -- of a conversation with a
14           THE WITNESS: Do I --                         14   particular person?
15           MR. FAUCI: I don't know if there's a         15       A. In the past, the DMERCs worked
16    question pending or not.                            16   together to do the drug pricing, so there were
17    BY MR. GORTNER:                                     17   quarterly calls between the DMERCs to go over the
18       Q. There is a question pending. It was,          18   arrays that they had, and we would work together
19    after reviewing the declaration whether you can     19   if we had any discrepancies to try to find those
20    recall what issues received changes between the     20   out. We also worked together to develop sort of
21    final declaration and the earlier draft.            21   the same pricing.
22       A. Looking at it, I'm thinking that the          22       Q. When was the time frame those

                                                     27                                                      29
 1    changes were for the albuterol, that there may       1   quarterly calls occurred?
 2    have been some charts.                               2      A. I believe for this it would have been
 3        Q. What page in -- in particular are you         3   from 1999 to 2003. You're going through 2003,
 4    referring to?                                        4   correct?
 5        A. 15.                                           5      Q. Right.
 6        Q. Okay. There may have been some charts         6          And you mean through -- it would have
 7    related to the albuterol sulfate heading on Page     7   gone through 2003?
 8    15?                                                  8      A. Correct.
 9        A. But I quite honestly am not sure at           9      Q. Did they continue after 2003?
10    this point. I was thinking that there were some     10      A. Yes.
11    charts that we removed because they got too         11      Q. Up until what point?
12    involved.                                           12      A. Cigna transactioned out of the DMERC
13        Q. Anything else?                               13   in September of 2006, so up until that time, I
14        A. (Witness shook head.)                        14   can say that they were still going on.
15        Q. You have to say no?                          15      Q. And these quarterly -- these quarterly
16        A. I do not think so, sorry.                    16   calls would have a representative from Cigna on
17        Q. That's okay. I'll remind you of the          17   the call and someone from Palmetto if that was
18    head nods. We all forget from time to time.         18   the operative DMERC at the time and DMERC-A and
19           In the course of preparing your              19   Administar; is that right?
20    declaration, did you review any witnesses'          20          MR. FAUCI: Objection to form.
21    testimony?                                          21          THE WITNESS: Most of the calls would
22        A. No.                                          22   have representatives from all four DMERCs.


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 10 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                        9 (Pages 30 to 33)
                                                     30                                                       32
 1    BY MR. GORTNER:                                      1   calls. We would go through the codes and
 2       Q. Were you the Cigna representative that         2   indicate what we had -- the fee. Anywhere we had
 3    was on most of these calls?                          3   differences, we would discuss the differences.
 4       A. Most of the calls, yes.                        4   BY MR. GORTNER:
 5       Q. And the purpose of these calls, as you         5       Q. With respect to ipratropium bromide,
 6    stated, were -- was to coordinate your pricing       6   for example, would the call basically encompass
 7    arrays; is that right?                               7   all four DMERCs saying, We have established
 8       A. To coordinate the fees that we                 8   $3.34, for instance, per milligram for
 9    developed.                                           9   ipratropium bromide, and if all of you had
10       Q. Was this part of what's been called           10   established that same amount, you'd move on to
11    the Uniform Drug Pricing Project? Is that a name    11   another J-code? Is that how that worked?
12    you're familiar with?                               12       A. That is correct.
13       A. I have heard the name. I would not            13       Q. So it wasn't a circumstance where you
14    think that this came in under that, but I'm not     14   were actually reading to each other the
15    really sure. It was CMS instructions that the       15   particular drugs that you had in the array or the
16    DMERCs work together. I don't know if that was      16   classifications of whether they were generics or
17    based on Uniform or not.                            17   brands; is that right?
18       Q. Did you have an understanding as to           18       A. That's right.
19    why CMS was instructing the DMERCs to work          19       Q. And the reason you wouldn't do that is
20    together?                                           20   because as long as you had established the same
21       A. So that we would all have similar             21   fee there was uniformity among the DMERCs?
22    pricing.                                            22       A. Correct.
                                                     31                                                       33
 1        Q. And what you mean by similar pricing          1          MR. FAUCI: Object to the form.
 2    is to make sure that the -- the fee payment that     2   BY MR. GORTNER:
 3    was established by each DMERC for, say,              3      Q. At any point, was there a discussion
 4    ipratropium bromide or a particular J-code would     4   about the particular drugs that were listed in
 5    be uniform, all four DMERCs would be paying the      5   the arrays for payments on ipratropium bromide?
 6    same amount for each of those claims under that      6      A. I do not recall one for . . .
 7    J-code?                                              7      Q. Based on your recollection of the
 8        A. Correct.                                      8   nature of these quarterly teleconferences, would
 9        Q. And what was the nature of the                9   you expect that conversation to have occurred
10    discussions? Can you -- can you give me a flavor    10   between the DMERCs if you were all setting the
11    in terms of how you would have these phone calls    11   same fee payment for ipratropium bromide during
12    to coordinate your arrays?                          12   this time?
13           MR. FAUCI: Objection to the form.            13      A. I would not.
14           THE WITNESS: Generally when we               14      Q. At any point during your -- your work
15    received -- each quarter we would have to do the    15   at Cigna from 2001 through 2004, did you examine
16    pricing. So before each quarter, the DMERCs         16   the ipratropium arrays for the other DMERCs?
17    would set up a conference call between each other   17      A. Actually look at their arrays?
18    to discuss it. We had previously established        18      Q. That's correct.
19    which drug codes were routinely processed under     19      A. I don't recall doing it. I don't see
20    the DMERCs, which had a coverage benefit.           20   a need where they would send it to me. However,
21           Each of the carriers would develop the       21   as new people come in, they sometimes ask for
22    fees using the regulations and bring those to the   22   help. So I can't say that I didn't absolutely,


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 11 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                     10 (Pages 34 to 37)
                                                     34                                                       36
 1    but I do not recall it.                              1   100, Ms. Helton, and it's a document entitled
 2       Q. And was there an attempt during the            2   Medicare Pricing, Drug Pricing Procedure. Would
 3    time of 2001 to 2004 to try to get coordination      3   you take a quick look at the document and tell me
 4    between the four DMERCs to make sure that they       4   if you recognize it?
 5    were classifying drugs consistently as either        5       A. I have seen the document.
 6    generic or a brand across the DMERCs?                6       Q. I'm going to hand you what's been
 7       A. My assumption is that we were all              7   previously marked as Roxane Exhibit 41, and this
 8    classifying them based on instructions, so, no. I    8   is a document entitled Medicare Professional
 9    mean --                                              9   Reimbursement, Best Procedure -- Drug Pricing
10       Q. Well, is the answer to the question,          10   Procedure.
11    no, there wasn't a -- an attempt to coordinate      11          Do you recognize this document as well?
12    among the four DMERCs to make sure they were        12       A. Yes.
13    classifying the drugs consistently as generics or   13       Q. And are these different formats for
14    brands?                                             14   basically the same kind of document? I recognize
15       A. I don't believe that there was                15   they have different content in them. But I'm
16    anything about generics and brands.                 16   just trying to understand this idea of a drug
17       Q. The focus was on making sure that the         17   pricing procedure. Is that a general type -- a
18    actual fee payment came out the same for the four   18   type of document that you're familiar with?
19    DMERCs?                                             19       A. This -- I'm not sure about the first
20       A. Yes.                                          20   one that you gave me.
21       Q. Now, as a Cigna representative, did           21       Q. Meaning Roxane 100? Okay.
22    you have any concerns whether the DMERCs were       22       A. Yes.
                                                     35                                                       37
 1    classifying drugs as generics or brands              1       Q. All right.
 2    differently as long as they came out on the same     2       A. Roxane 41 was when the DMERCs were
 3    fee payment schedule?                                3   trying to work together to establish that all of
 4        A. I never considered the generic and the        4   them had the same procedures, so there was input
 5    brands. I thought we all were using the same         5   from all of the different DMERCs of how the
 6    instructions, looking that -- all the same, so I     6   pricing was done.
 7    would not have even questioned it. If the fees       7       Q. And this was a document, then, that
 8    came out the same, I wouldn't have gone any          8   all four DMERCs in some fashion would review and
 9    further.                                             9   -- and provide input to?
10        Q. Now, when you say the same                   10       A. Yes, they worked on it together.
11    instructions, what are you specifically referring   11       Q. And is it a document that was revised
12    to?                                                 12   and evolved over time?
13        A. The transmittals that I said earlier         13       A. I believe that the information from
14    from CMS.                                           14   this actually went into the Internet only
15        Q. Now, are you familiar with -- with           15   manuals, Publication 100-04, Chapter 17, which is
16    what has been referred to as Medicare               16   where our instructions are for drug pricing.
17    Professional Drug Pricing Procedure, documents      17       Q. Can you repeat that publication number
18    that have that title? Is that something you're      18   again?
19    familiar with?                                      19       A. Publication 100-04, which is the
20        A. No.                                          20   Medicare claims processing manual.
21        Q. I'm going to hand you what has been          21       Q. And when you say Internet only
22    marked as -- previously marked as Roxane Exhibit    22   manuals, what do you mean by that?


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 12 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                             Nashville, TN
                                                                     11 (Pages 38 to 41)
                                                    38                                                        40
 1       A. CMS guidance to the Medicare carriers          1          MR. FAUCI: Object to the form.
 2    manuals went from a Medicare carriers manual,        2          THE WITNESS: I believe that the actual
 3    which was a paper hard copy, to Internet only        3   document that you have here is what the DMERCs
 4    manuals that are on the CMS website.                 4   sent as what they were doing. I don't think
 5       Q. Do you know when that transition to            5   these were the actual instructions, so we would
 6    the website occurred?                                6   have actually followed the instructions that came
 7       A. I do not.                                      7   out based on this.
 8       Q. What would be your best estimate?              8   BY MR. GORTNER:
 9          MR. FAUCI: Object to the form.                 9       Q. And by the instructions, you're
10          THE WITNESS: I would say between 2000         10   referring to the Medicare carriers manual?
11    and 2002, but I'm -- that is just a guess.          11       A. The carriers manual, the IOM.
12    BY MR. GORTNER:                                     12       Q. Let me stop you there. Just explain
13       Q. And would these manuals have been             13   what that acronym is.
14    available to the public, what I mean by that is     14       A. Internet only manual.
15    available to people that weren't Medicare carrier   15       Q. Okay. Anything else?
16    personnel?                                          16       A. The CMS transmittals.
17       A. I believe that they're on the CMS             17       Q. Well, take a look at Roxane 100 real
18    website, which is public, but I can't confirm       18   quick, if you would. And on the first page, you
19    that anyone can look at them.                       19   can see that it is exerting a section of the code
20       Q. What was the process by which these           20   of federal regulations that establishes the
21    drug pricing procedure documents would be           21   payment for Part B drugs. Do you see that in
22    integrated into the -- the Medicare carriers        22   italics?
                                                    39                                                        41
 1    manual? How would that happen, if you know?          1       A. I do.
 2       A. I do not. We provided the information          2       Q. And you can see that in the last
 3    to CMS.                                              3   sentence of that excerpt from the code of federal
 4       Q. And in terms of getting feedback from          4   regulations it describes the payment for multiple
 5    the different DMERCs, do you recall whether there    5   source drugs, which is basically that the average
 6    were meetings or conference calls or some other      6   wholesale price is defined as the lesser of the
 7    procedure by which comments or ideas could be        7   median average price for all sources of generics;
 8    exchanged on this drug pricing procedure?            8   or if the brand AWP is lower, that sets the
 9       A. I believe it was e-mail and possibly           9   payment basis, right?
10    conference calls.                                   10       A. Yes.
11       Q. What's your understanding of the -- of        11       Q. In a nutshell, what this -- what this
12    the purpose of a drug pricing procedure document?   12   regulation is telling the DMERCs is that you pay
13       A. To try to get all four DMERCs using           13   for generic drugs under Part B on either the
14    the same process.                                   14   median of the generic AWPs or the brand AWP if
15       Q. Is it fair to say that, then, the             15   that's lower; is that an accurate statement of
16    procedures in the drug pricing procedure document   16   your understanding of the regulation?
17    were intended to be followed by all four DMERCs?    17       A. You -- you set the fee -- or pay for
18       A. Yes.                                          18   the -- the fee. I don't think it just says
19       Q. So these drug pricing procedure               19   generics. It would be any drugs that fall under
20    documents outlined a process by which all four      20   that code is going to be based on the lesser of
21    DMERCs should have been pricing their drugs and     21   the median of the generics or the lowest brand.
22    classifying their drugs, right?                     22       Q. And then the -- the next section under


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 13 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                     12 (Pages 42 to 45)
                                                     42                                                       44
 1    Scope, it says, "This procedure outlines the         1   you would set the fee payment based on whichever
 2    criteria used to calculate the quarterly             2   one was lower?
 3    reimbursement updates for Part A, Part B, DMERC,     3       A. Based on -- with others
 4    and SAD or SADMERC drugs." Do you see that?          4   considerations.
 5        A. Yes.                                          5       Q. What does that mean?
 6        Q. Now, could this document be an excerpt        6       A. There is a piece missing here about
 7    from -- from a manual, a carriers manual? Does it    7   the reduction. Once you determine the AWP, then
 8    look like it's in that format?                       8   you -- what you're going to use is the AWP,
 9        A. It does not look like it's in that            9   whether it's the median of the generics of the
10    format.                                             10   lowest brand, then during part of that time, it
11        Q. And you can see a little bit further         11   would get a 95 percent.
12    down on that -- on that first page, there's a       12       Q. That's right. It paid 95 percent, not
13    reference to a form number or a document number,    13   100 percent AWP in this time frame?
14    and you see that it mentions a Transmittal AB       14       A. Yes.
15    9963. Do you see that?                              15       Q. Now, the next bullet point down, which
16        A. I do.                                        16   carries over to the next page, it states, "To
17        Q. And that was some 1999 transmittal           17   determine if a drug is a generic or brand, look
18    from HCFA; is that right?                           18   at the boldface uppercase name of the drug. If
19        A. I would assume so.                           19   there's another name for the drug immediately
20        Q. Now, on the next page, which is Bates        20   below it in lower case letters (the generic
21    labeled AWP 034-0463, there's a heading at the      21   name), the entries following are generally
22    top that says, "Step 2, identify drug sources."     22   brands. If there is no lower case drug name
                                                     43                                                       45
 1    And if you go to the second from the bottom          1   immediately below the boldface uppercase name,
 2    bullet point on that same page, there's a            2   the boldface uppercase name is the generic name,
 3    paragraph that begins with, "If no generic forms     3   and all entries below are generics."
 4    of the drug exist, use all brands that exist for     4          Let me stop you there. You're familiar
 5    a specified dosage." Do you see that sentence?       5   during your work with Cigna with that methodology
 6        A. Yes.                                          6   of determining generics versus brands?
 7        Q. And then the last sentence of that            7       A. Yes.
 8    paragraph says, "During 1998, if a brand name        8       Q. And you had seen that before in other
 9    source was lower than the median of generics, the    9   drug pricing procedure guides as well?
10    lower brands were included in the median AWP        10       A. I don't think we actually had a guide,
11    calculation." Do you see that?                      11   but, yes, I was trained on --
12        A. Yes.                                         12       Q. You were -- you were trained on this
13        Q. And that was a different methodology         13   -- on this methodology?
14    for that one year; is that correct?                 14       A. Yes.
15        A. That is correct.                             15       Q. Okay. And this was a methodology that
16        Q. And then in 1999, it became, pay at          16   was in place at least as of 1999, right?
17    the lower of the median of the generic AWPs or      17       A. It was in 1999. I think that this is
18    the brand AWP if it's lower?                        18   based on hard copy Red Book.
19        A. That is correct.                             19       Q. That's my next question is, is can you
20        Q. And that's how you set payment rates         20   explain to me how this criteria -- criteria was
21    up to 2004 at Cigna, that you would compare the     21   implemented at Cigna?
22    median of the generic AWPs and the brand AWP, and   22       A. I don't have a Red -- on the --


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 14 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                     13 (Pages 46 to 49)
                                                     46                                                       48
 1        Q. Would it help you if you had a Red            1   entire entry is in bold and capitals, correct?
 2    Book?                                                2       A. Correct.
 3        A. Please.                                       3       Q. And then underneath it, it has an
 4        Q. Why don't -- why don't we get it?             4   entry in lowercase for the generic chemical name
 5           MR. GORTNER: Why don't we take a quick        5   ipratropium bromide, right?
 6    break. We've gone about an hour. Let's take a        6       A. Yes.
 7    quick break. And then we can kind of walk            7       Q. And is it fair to say that if you were
 8    through a hard copy Red Book in reference to that    8   looking at this document and applying the
 9    criteria. Okay?                                      9   criteria that we just discussed on the drug
10           THE WITNESS: Okay.                           10   pricing procedure document, that would meet the
11           THE VIDEOGRAPHER: Going off the              11   criteria for a brand drug because it has a
12    record, time is 9:54.                               12   heading all in capital bold up top with the
13           (Brief recess observed.)                     13   generic name in lowercase underneath it?
14           THE VIDEOGRAPHER: Back on the record,        14       A. Yes, it has a -- the bold cap is a
15    time is 10:01.                                      15   different name, and then the generic name is in
16           (Marked Exhibit Roxane 261.)                 16   lowercase. So the cap is different from the
17    BY MR. GORTNER:                                     17   generic, so, yes, it is a brand name.
18        Q. Ms. Helton, I've handed you what we've       18       Q. And that's the way that you would
19    marked as Roxane Exhibit 261. This is an excerpt    19   apply that criteria at Cigna if you were looking
20    from the 2001 annual Red Book, the printed          20   at a printed Red Book; is that correct?
21    version, and I wanted to draw your attention to     21       A. Yes.
22    what's Page 368 in the upper left-hand corner of    22       Q. And looking over similar to the -- to
                                                     47                                                       49
 1    this document. And if you look on the left-hand      1   the next page, in the thirdhand column over on
 2    column about halfway down, there is an entry for     2   the -- on the page marked 362, there's an entry
 3    ipratropium bromide. Do you see that in bold?        3   there for Inderal, can you see that? And
 4        A. Yes.                                          4   underneath it, it has an entry in lowercase for
 5        Q. And it continues listing a variety of         5   propanolol hydrochloride. That would also be
 6    ipratropium bromides from different manufacturers    6   considered a brand under this criteria?
 7    on that left-hand column and over it about           7       A. Yes.
 8    halfway on the middle column of Page 368. Do you     8       Q. Okay. Now, I wanted you to go back to
 9    see that?                                            9   Page 368 and look at the entry for the Roxane
10        A. Yes.                                         10   ipratropium bromides above. If you look right
11        Q. And now I wanted to discuss this --          11   above the -- the entry for Zenith Goldline, you
12    this criteria for classifying generics versus       12   can see that Roxane is in parens in that middle
13    brand drugs that we just looked at in the drug      13   column on Page 368?
14    pricing procedure document. Okay? And let me        14       A. Yes.
15    know if I'm understanding how that criteria         15       Q. And you see that there's six NDCs that
16    worked.                                             16   are listed there. Three of them up top have the
17           But in essence, if you look at the           17   middle designation of 8402, and then three at the
18    entry for Ipratropium Bromide Hydrous, which is     18   bottom have the middle designation of NDC 8404.
19    in the middle of that second column, do you see     19   Do you see those?
20    that?                                               20       A. Yes.
21        A. Yes.                                         21       Q. And using the criteria that we just
22        Q. And what you see there is that that          22   talked about in that drug pricing procedure,


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 15 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                             Nashville, TN
                                                                     14 (Pages 50 to 53)
                                                     50                                                       52
 1    Cigna would classify all six of these NDCs as        1   ipratropium bromide.
 2    generics, wouldn't it?                               2       Q. Right.
 3        A. Using the hard copy, yes.                     3       A. Okay. I have to consider that the
 4        Q. Okay. And that criteria would be in           4   Ipratropium Bromide Hydrous, based on statutes,
 5    effect all the way up to 2004 when the Medicare      5   is different than the generic name. So if it's
 6    policy changed, or would it continue up until        6   different than the generic name, it's a brand.
 7    today?                                               7       Q. Let me stop you there. Were there any
 8           MR. FAUCI: Object to the form.                8   exceptions to that rule that Cigna applied?
 9           THE WITNESS: If we were using the hard        9       A. I can't think of any for -- for DME.
10    copy, yes. But we switched to the CD, so the CD     10       Q. We deposed Ms. Stone from the Palmetto
11    is different format.                                11   DMERC a couple days ago, and she mentioned that
12    BY MR. GORTNER:                                     12   there may be situations where the name of the
13        Q. Okay. And we'll talk about the CDs in        13   drug has something more than just the generic
14    just a moment. But just so I understand how it      14   name in it. In other words, it might be a drug
15    worked at Cigna, it -- you would apply the rule     15   that has ipratropium bromide hydrochloride, for
16    regarding capitalization of the product to          16   instance.
17    determine whether it was a generic or brand when    17          And there would be instances where the
18    you were relying on the hard copy Red Book; is      18   additional term that was in the name of the drug
19    that correct?                                       19   was related to being a dilutant, for instance.
20           MR. FAUCI: Objection to the form.            20   They might classify that drug as a -- as a
21           THE WITNESS: The capitalization of the       21   generic or at least have a discussion about
22    product helps you determine. You would apply the    22   whether it should be a generic or a brand.
                                                     51                                                       53
 1    rules that are in the CMS guidelines.                1           Was there anything akin to that at
 2    BY MR. GORTNER:                                      2   Cigna?
 3        Q. Well, how would those two work                3       A. I don't think that that was considered
 4    together? I'm trying to understand. You have a       4   brand -- a brand conversation. I'm thinking that
 5    -- the drug pricing procedure rule there             5   those are still considered generics. But
 6    regarding limited capitalization and whether it      6   sometimes when you're doing arrays for drugs, the
 7    had a lowercase generic name underneath it,          7   medical directors would make determinations as
 8    correct? How would that rule work in conjunction     8   to, if you don't have a drug that meets the
 9    with the CMS rule?                                   9   code's description specifically, that you may
10        A. You have to compare the two and see. I       10   have to -- there's -- like a chloride may have to
11    don't see any conflict with it here, but I would    11   be used for that drug.
12    have to evaluate each one individually and see if   12       Q. I'm not sure I understand that
13    there was.                                          13   exactly. Can you --
14        Q. Okay. And how would you do that? Can         14       A. I don't have any codes here to
15    you explain that?                                   15   explain. Some of the drugs, especially for the
16        A. I'm looking at what I see here, and I        16   inhalation drugs, didn't have inhalation formats
17    don't see anything here that would tell me that     17   that were -- the name of the drug was just
18    it's different, so -- based on this, I don't see    18   strictly the generic as in the HCPCS description.
19    any different names added to, so I would say it's   19   You could not find any products that met that
20    the same.                                           20   description.
21           Like the Ipratropium Bromide Hydrous         21           So the medical directors would say that
22    and then the generic name underneath it is          22   a different type of drug, like a hydrochloride,


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 16 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                             Nashville, TN
                                                                     15 (Pages 54 to 57)
                                                    54                                                        56
 1    was actually what was being used for that            1   brand?
 2    inhalation.                                          2       A. I do not.
 3           And so we would pull in the products          3       Q. Now, with respect to the -- the HCFA
 4    for that -- that drug into the array because we      4   transmittal that you're referring to in
 5    couldn't find the other.                             5   classifying a generic or a brand, what was your
 6        Q. Well, can you give me an example of a         6   understanding of what that criteria was for
 7    drug that would have -- because I'm just trying      7   determining --
 8    to understand, are you referring to the fact that    8       A. If --
 9    you would add a term to the drug name so that it     9       Q. -- let me finish the question --
10    would match the -- the HCFA description or          10   determining whether a drug was a generic or a
11    whether you would give it an entirely different     11   brand?
12    name? I'm just trying to understand what you're     12       A. When you're looking at the description
13    referring to.                                       13   of the drug, if the drug is other than -- or the
14        A. I don't actually have any description        14   name is other than the generic name of the drug,
15    -- anything with me here to give you examples of    15   if it has something added to it, then it would be
16    it. The -- when you're talking about like sulfide   16   considered a brand.
17    and hydrochloride and things like that that are     17       Q. Okay. So let's take the simplest
18    added but they -- they're part -- they're a         18   example. If a drug is called Atrovent and the
19    generic name, but they're a little bit different    19   generic chemical name is ipratropium bromide,
20    than the generic name of the drug, if you don't     20   Atrovent is clearly a name other than the generic
21    have any products that fall under that generic      21   chemical name, and you would classify that as a
22    name, then we would have to ask for assistance      22   brand?
                                                    55                                                        57
 1    from the medical directors, and they would           1       A. Yes.
 2    determine which products actually were being used    2       Q. And you're familiar with that drug,
 3    under those codes.                                   3   aren't you?
 4       Q. Okay. I think I understand what                4       A. Yes.
 5    you're saying now.                                   5       Q. And you routinely classify Atrovent as
 6           Would the medical directors ever be           6   a brand at all pertinent times in the Cigna
 7    involved in the process of helping you determine     7   arrays?
 8    whether a drug was a generic or a brand drug?        8       A. Yes.
 9       A. No.                                            9       Q. Now, in situations where you have the
10       Q. Would anyone other than, in this              10   generic chemical name, like ipratropium bromide,
11    instance, you who was involved with grading the     11   in the drug title and something additional, is it
12    arrays, be involved in the process of determining   12   your testimony that you considered that to be
13    whether a drug was a generic or a brand?            13   other than the generic chemical name?
14       A. For Cigna? No. We -- I mean, we               14       A. Yes.
15    might have discussed some on the conference         15       Q. And that was the criteria you were
16    calls.                                              16   looking at. If it was different in any way from
17       Q. Do you have any recollection of that?         17   simply the words ipratropium bromide, you
18       A. No.                                           18   categorized it as a brand in your arrays?
19       Q. Do you know whether any of the other          19       A. Yes.
20    DMERCs had a process by which a medical director    20       Q. Now, looking at this 2001 annual Red
21    or some other staff would be consulted with to      21   Book printout for the Roxane NDCs, I'll represent
22    determine whether a drug was a generic or a         22   to you that the NDCs that have the 8404 in the


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 17 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                October 16, 2009
                                              Nashville, TN
                                                                     16 (Pages 58 to 61)
                                                     58                                                      60
 1    middle, the three lower NDCs on that Page 368 of     1   CDs.
 2    the Red Book, those represent the NDCs with the      2       Q. Can you explain for me the reasons why
 3    Novaplus label ipratropium bromide. Okay?            3   you switched to the quarterly CDs from the
 4        A. Okay.                                         4   printed versions?
 5        Q. And you'd agree with me that using the        5       A. It was determined by the four DMERCs
 6    HCFA criteria that you're referring to, which is     6   together that the quarterly CDs were easier and
 7    if the product name is something other than the      7   faster than the hard copies, so all four agreed
 8    generic chemical name, you would classify those      8   to go with the quarterly CDs.
 9    three Novaplus NDCs as a generic, wouldn't you?      9       Q. That's because on a quarterly CD you
10           MR. FAUCI: Object to the form.               10   can do searches and get right to the product and
11           THE WITNESS: Based on using this             11   don't have to be flipping through a book?
12    information in Red Book, it is listed as            12       A. That is correct.
13    ipratropium bromide with just the manufacturer.     13       Q. There's a real convenience factor to
14    So based on this, it only is ipratropium bromide.   14   those CDs versus the annual hard copies, right?
15    So I would -- based on just that it is the          15       A. The CDs also had the ability to search
16    generic name, I would have classified these as a    16   by NDC number.
17    generic.                                            17       Q. Do you recall at what point in 2000
18    BY MR. GORTNER:                                     18   the switch was made? Was it later 2000? Mid?
19        Q. To be clear, you would have classified       19       A. I actually think -- I think it was the
20    the Novaplus label ipratropium bromide NDCs as a    20   first or second quarter of 2000. I think the
21    generic under either one of the two criteria        21   first CD we had was October in '99, which would
22    we're talking about. Either based upon the          22   have come into play with the January 2000.
                                                     59                                                      61
 1    capitalization format in the Red Book or on the      1      Q. You're not sure one way or the other?
 2    HCFA criteria with regard to the generic name,       2      A. I'm not really sure.
 3    they would be classified as generics based upon      3      Q. So up until some point in 2000, you
 4    this 2001 annual Red Book printout?                  4   were using the annual Red Book like the excerpt
 5           MR. FAUCI: Object to the form.                5   that we have right here marked as Roxane Exhibit
 6           THE WITNESS: Based on this where it's         6   261, right?
 7    strictly listed as ipratropium bromide only, yes,    7      A. Yes.
 8    I would have classified it as a generic.             8      Q. So you're familiar with this entry for
 9    BY MR. GORTNER:                                      9   ipratropium bromide, right?
10        Q. You spoke a moment ago that -- that          10      A. Yes.
11    Cigna transitioned to different formats of the      11      Q. And the decision to change to
12    Red Book over time; is that right?                  12   different Red Book formats was a decision the
13        A. Yes.                                         13   four DMERCs collectively made?
14        Q. Can you explain for me generally what        14      A. Yes.
15    materials Red -- of Red Book Cigna was using over   15      Q. The Red Book CDs required a
16    time where we can, you know, begin with the late    16   subscription, didn't they?
17    1990s up to 2004 if it's easier for you to          17      A. Yes.
18    recollect that.                                     18      Q. You'd have to pay, what, a quarterly
19        A. The late 1990s we were using the             19   or an annual fee?
20    annual and the monthly hard copies.                 20      A. I think it was annual.
21        Q. Okay.                                        21      Q. So the Red Book CDs weren't something
22        A. 2000 we started using the quarterly          22   that -- that the general public would just have


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 18 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                     October 16, 2009
                                                 Nashville, TN
                                                                          17 (Pages 62 to 65)
                                                          62                                                      64
 1    access to? You would have to actually sign up      1          and Blue Book were some -- a couple of them, but
 2    and pay Red Book to be able to look at these CDs;  2          I don't remember all of them.
 3    is that correct?                                   3              Q. Now, you're familiar with
 4           MR. FAUCI: Object to the form.              4          FirstDataBank Blue Book?
 5           THE WITNESS: From my standpoint, yes,       5              A. I have not actually ever worked with
 6    but I didn't look anywhere else, so I don't know.  6          it.
 7    BY MR. GORTNER:                                    7              Q. You know it's out there, though,
 8        Q. Now, during your time constructing the      8          right?
 9    DMERC pricing arrays for Cigna, did Cigna always   9              A. Yes.
10    look to the Red Book publishing compendium?       10              Q. Do you know if Medicaid programs use
11       A. Yes.                                        11          it?
12       Q. Do you have any understanding as to         12              A. I do not know.
13    why Cigna relied exclusively on the Red Book      13              Q. And how about the -- the Medispan
14    compendium?                                       14          publishing compendia?
15       A. I do not know initially why Cigna. It       15              A. I have never used it.
16    was selected prior to my coming in. Going         16              Q. But you're aware that there are these
17    forward when the DMERCs started working together, 17          other compendia that are out there, right?
18    that was the source that all four DMERCs selected 18              A. Yes.
19    as the one that they all four had, so it was      19              Q. And you're aware during your time
20    determined that that was the one we would use.    20          constructing the arrays for Cigna that you were
21       Q. Do you think it was based on -- on the      21          authorized to look at other compendia should you
22    historical use of the Red Book? Is that the       22          choose to, right?
                                                          63                                                      65
 1    reason you think?                                         1       A. Yes.
 2       A. I would think that. Like I said, I                  2       Q. And did the internal DMERC decision to
 3    don't know exactly why we started with the Red            3   rely on Red Book require you to only look at Red
 4    Book. It was one of the compendia in the CMS              4   Book, or was that simply an agreement that was
 5    regulations that we could use. I don't know               5   adhered to but that you still had discretion to
 6    specifically why that one was chosen.                     6   look at other things?
 7          For the DMERCs going forward where we               7       A. I don't really know. At the time,
 8    wanted to all be on the same page, the same               8   Barbara Douglas was the one who worked out, so --
 9    coordination, we all agreed to use Red Book. It           9   for Cigna, we only looked at Red Book. I can't
10    was the -- the one that all four DMERCs already          10   say whether the other ones looked at other
11    had.                                                     11   things.
12       Q. So as far -- as far as you knew, there             12       Q. Okay. But from what you just told me
13    wasn't anything special about Red Book in the            13   a moment ago, it sounds like you -- you never
14    sense that it had more accurate pricing or better        14   looked to the FirstDataBank Blue Book or Medispan
15    pricing than other compendia as far as you knew?         15   book to help determine whether drugs were generic
16       A. I don't know.                                      16   or brands, for instance?
17       Q. Now, you -- you said a moment ago that             17       A. I did not.
18    Red Book was one of the sources that HCFA allowed        18         MR. GORTNER: Let's take a quick break
19    DMERCs to look to for -- for drug pricing. What          19   to change tapes. Okay?
20    were the other sources?                                  20         THE WITNESS: Okay.
21       A. I believe that it changed through the              21         THE VIDEOGRAPHER: Here marks the end
22    years, so I can't say for sure. I think Medispan         22   of Tape No. 1. Going off the record, time is


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 19 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                     18 (Pages 66 to 69)
                                                     66                                                       68
 1    10:24.                                               1   the document. I don't know who created the
 2           (Brief recess observed.)                      2   document. I can't say that this is the document
 3           THE VIDEOGRAPHER: Back on the record.         3   that is in Cigna's book of what instructions we
 4    Here marks the beginning of Tape No. 2. Time is      4   have.
 5    10:29.                                               5       Q. But does this -- does this description
 6    BY MR. GORTNER:                                      6   of -- of the criteria of a generic and brand and
 7       Q. Ms. Helton, going back to the Medicare         7   that option to contact Red Book or the drug
 8    drug pricing procedure document, which is Roxane     8   company, are those terms generally familiar to
 9    100 that we looked at a moment ago, if you could     9   you within Cigna's manual even if the precise
10    turn to Page 3 of that document, just following     10   words might be different?
11    up on the -- the criteria for distinguishing        11          MR. FAUCI: Object to the form.
12    between brand and generics, if you look at the      12          THE WITNESS: I would think that -- I
13    last sentence of that paragraph on the top of       13   don't have a precise manual, so if I had a
14    Page 3, it reads, "If there is a question as to     14   question between generic and brand, I am aware
15    whether a drug is brand or generic, consult the     15   that there are options to try to find out.
16    PDR," which I think means Physicians' Desk          16   BY MR. GORTNER:
17    Reference, "generics book, telephone the drug       17       Q. Okay. So let's set aside the
18    company, or Red Book," and it gives an 800 number   18   specifics of the document.
19    for Red Book.                                       19          In terms of your procedure when you
20           At any point during your classification      20   were constructing the Cigna arrays, during that
21    of drugs as brand or generics, did you, in fact,    21   time period of constructing the arrays, you were
22    consult the PDR generics?                           22   aware that you had options to contact Red Book or
                                                     67                                                       69
 1        A. I did not.                                 1      the drug company if you -- if you so chose,
 2        Q. Did anyone on your staff do so, as far     2      right?
 3    as you know?                                      3          A. Yes.
 4        A. Not that I'm aware of.                     4          Q. And you could call them up to clarify
 5        Q. How about ever telephone a drug            5      if -- if any of their drugs was a generic or a
 6    company to understand whether a drug was a        6      brand, right?
 7    generic or a brand?                               7          A. Yes.
 8        A. No.                                        8          Q. Now, at some point in 2000, you
 9        Q. Or call Red Book itself?                   9      transitioned to using the Red Book CD-ROMs for
10        A. No.                                       10      helping you determine the prices for drugs; is
11        Q. But -- but during the time you were       11      that right?
12    creating these arrays, you knew that this option 12          A. That's right.
13    was available to you, that you could consult a   13          Q. Did you use any other Red Book in
14    PDR generics or call a drug company or the Red   14      addition to the CD-ROMs? For instance, did you
15    Book?                                            15      rely -- still rely on the monthly updates?
16        A. I knew that there were options if we      16          A. We did still use the monthly updates.
17    needed help. I would not say that this procedure 17          Q. So you did still have hard copies that
18    is mine, so -- but, yes, I am aware of different 18      you used in addition to the CD-ROMs; is that
19    options.                                         19      right?
20        Q. When you say I'm not -- this procedure    20          A. That is correct.
21    is not mine, what do you mean by that?           21          Q. And with respect to the hard copies,
22        A. As before, the Roxane 100, I've seen      22      this criteria we're talking about in the drug


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 20 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                October 16, 2009
                                             Nashville, TN
                                                                    19 (Pages 70 to 73)
                                                   70                                                        72
 1    pricing procedure of the capitalization            1    the old DMERC, we still had the hold order for
 2    conventions of Red Book would still be one of the  2    documentation for drug pricing, and we pulled
 3    criteria you would look to to classify drugs as    3    boxes back from the warehouse that we thought
 4    generic or brands?                                 4    would be pertinent to that hold document.
 5            MR. FAUCI: Object to the form.             5        Q. This was in 2006?
 6            THE WITNESS: Yes.                          6        A. Yes.
 7    BY MR. GORTNER:                                    7        Q. And this is one of the boxes that had
 8         Q. Let's take a look at the -- the Red        8    been pulled in 2006?
 9    Book CD-ROMs. I'm going to hand you what we will 9          A. Yes.
10    mark as Roxane Exhibit 262.                       10        Q. And it had been pulled to where?
11            (Marked Exhibit Roxane 262.)              11        A. To that cabinet in front of my desk.
12            MR. GORTNER: For the record, we've        12        Q. Okay. So from -- since 2006, it was
13    previously also marked this as Roxane Exhibit     13    in that cabinet in front of your desk?
14    255.                                              14        A. Yes.
15    BY MR. GORTNER:                                   15        Q. Now, you may recall that we spoke
16         Q. This, I'll represent to you, are a        16    earlier today about the initial series of
17    series of documents that we received from you or  17    documents that Cigna had produced in this
18    from DOJ counsel just last week. I'll ask you     18    litigation, which included that HCFA transmittal
19    just to quickly flip through and see if you       19    you referred to. Do you remember that?
20    recognize these documents.                        20        A. Yes.
21            I'll point you to a specific page, and    21        Q. Why was it that these documents
22    I'll represent that those are a complete version  22    weren't included in that production?
                                                   71                                                        73
 1    of the documents that we received. But              1          MR. FAUCI: Object to the form.
 2    generally, do they appear to be the documents       2          THE WITNESS: The way that we
 3    that you provided to counsel?                       3   interpreted the documentation was that you wanted
 4        A. Yes.                                         4   the spreadsheets and how we used AWP.
 5        Q. Can you explain for me how you located       5          We provided the spreadsheets -- the
 6    these documents?                                    6   spreadsheet itself was already provided
 7        A. I have some boxes of drug pricing            7   electronically. We did not interpret that to
 8    information, and I pulled this out of those         8   mean that you wanted all of our resources, which
 9    boxes.                                              9   are copyrighted, such as Red Book, so we did not
10        Q. Where were those boxes located?             10   provide.
11        A. They're currently located in my             11   BY MR. GORTNER:
12    building in front of my desk. We had pulled them   12       Q. Now, how about the Red Book CDs? Those
13    back from the warehouse.                           13   -- as you may recall, a subset of those was
14        Q. Before -- before they were in your          14   produced a little bit earlier this summer. Is it
15    office, then, they had been in a warehouse where   15   the same situation with Red Book CDs? Were they
16    Cigna stores documents?                            16   kept in a similar location?
17        A. Yes.                                        17       A. The CDs were not kept in a similar
18        Q. And where is that warehouse located?        18   location. The CDs are loaded to our mainframes;
19        A. I don't know.                               19   therefore, they are maintained and secured by the
20        Q. Now, how did -- how did you come about      20   people who maintain the mainframe. I don't know
21    retrieving those documents from the warehouse?     21   exactly what the designation is for that person.
22        A. In 2006 when Cigna transitioned out of      22          And when we first started Red Book,


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 21 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                October 16, 2009
                                             Nashville, TN
                                                                     20 (Pages 74 to 77)
                                                    74                                                       76
 1    they were diskettes loaded to an individual user     1   is that correct?
 2    machine. Those were not maintained because as        2       A. Yes.
 3    each Red Book comes out, subsequent one, it --       3       Q. Then let's take a look at the page
 4    you get rid of the previous one.                     4   that begins CIGNA-0109. It's the lower right
 5        Q. Okay.                                         5   Bates label. That -- that page appears to be an
 6        A. You only maintain the current. So the         6   array for ipratropium bromide constructed by
 7    ones that we produced were the ones that were the    7   Cigna, and it has a date on the lower right of
 8    multiuser license that had been at one time          8   December 12, 2000. Do you see that?
 9    loaded to our mainframes while the subscriptions     9       A. Yes.
10    were valid. They had been maintained in the         10       Q. Then at the very bottom center,
11    cabinet, but the subscriptions had expired, so we   11   there's a phrase that says, "Confidential,
12    cannot access them. They're no longer on our        12   unpublished property of Cigna. Do not duplicate
13    system.                                             13   or distribute. Use and distribution limited
14        Q. So there's some subset of CDs where          14   solely to authorized personnel, 2000, Cigna."
15    that -- that information is no longer retrievable   15          Do you see that?
16    on your end; is that right?                         16       A. Yes.
17        A. I would think that -- some of the CDs        17       Q. And I take it that then these arrays
18    it's no longer retrievable on our end, yes. And     18   were arrays that were kept internally at Cigna
19    then some of the earlier versions we don't have     19   only?
20    at all.                                             20       A. Yes.
21        Q. Okay.                                        21       Q. So you didn't publish these up on a
22        A. They've already been destroyed.              22   website or distribute them out to providers, for
                                                    75                                                       77
 1        Q. So at some point during the summer,           1   instance?
 2    you -- you contacted someone at your IT              2       A. No.
 3    department to try to locate off your server the      3       Q. Is it fair to say that the -- that the
 4    Red Book CD information that was still available?    4   only information that would be publicly available
 5        A. Not off the server because they're no         5   from the Cigna arrays would be the actual fee
 6    longer maintained there. Only the current            6   payment that you set for ipratropium bromide?
 7    version is maintained. We had to contact someone     7       A. Yes.
 8    in the IT area to see if they had the older          8          MR. FAUCI: Object to the form.
 9    versions anywhere in storage.                        9   BY MR. GORTNER:
10        Q. Okay. Are there other documents,             10       Q. And individuals who were not part of
11    either electronic or hard copy, that -- that        11   the -- the Cigna DMERC or individuals connected
12    relate to your pricing arrays that have not been    12   with other DMERCs wouldn't know the specific
13    produced in this litigation?                        13   drugs that you placed in each particular portion
14        A. Other than the actual Red Book?              14   of the array; is that right?
15        Q. Right.                                       15       A. If I had a dispute with one of the
16        A. No.                                          16   other -- or in the fee that I came up with with
17        Q. Now let's take a look at Roxane              17   one of the other DMERCs, if we had a discrepancy
18    Exhibit 262. This appears to be a printout of --    18   then they could know how I put on those
19    of Cigna arrays from 1999 through 2004. And         19   conference calls.
20    behind each Cigna array, it appears that you have   20          They also would have the information
21    printed out in -- and attached Red Book CD-ROM      21   that's in the lower -- with the KO and KPs, that
22    information with respect to ipratropium bromide;    22   lower left-hand corner, all four DMERCs would


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 22 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                October 16, 2009
                                              Nashville, TN
                                                                     21 (Pages 78 to 81)
                                                     78                                                      80
 1    have had that calculation.                           1   right?
 2        Q. But how about anyone else outside of          2       A. Yes.
 3    the DMERCs?                                          3       Q. And then it looks like in the -- in
 4        A. No.                                           4   the pages that follow it that begin with Bates
 5        Q. They wouldn't have access to that             5   label CIGNA 01111 through CIGNA 01119, those are
 6    information of how you put a particular drug in a    6   printouts from the Red Book CD-ROM of what's
 7    particular generic versus brand array, for           7   called detailed product information for each one
 8    instance?                                            8   of those ipratropium bromide NDCs; is that right?
 9        A. I would say on a routine basis, no. I         9       A. Yes.
10    don't know if someone like you subpoenaed the       10       Q. And that was just another -- a tab you
11    documents.                                          11   could click on the Red Book CD, for instance?
12        Q. Okay. So through a formal subpoena,          12       A. Yes.
13    those documents might be produced?                  13       Q. And with respect to this information,
14        A. Yes.                                         14   the information that was on the product
15        Q. I'm just trying to establish, in the         15   information list and all the detailed product
16    normal course, a manufacturer like Roxane, for      16   information, that was all available to you as you
17    instance, as far as you know, wouldn't have a       17   were constructing the Cigna arrays from
18    publicly available source to be able to look and    18   ipratropium bromide, correct?
19    see, Oh, you put our Roxane ipratropium bromide     19       A. Yes.
20    in the generic array of Cigna, and you put the      20       Q. And you're familiar with the
21    Novaplus Ipratropium Bromide in the brand array?    21   information contained on -- on this Red Book
22        A. Correct.                                     22   CD-ROM as you've printed it out here, right?
                                                     79                                                      81
 1        Q. They wouldn't know that, right?               1      A. Yes.
 2        A. That is correct.                              2      Q. Okay. Now, taking a look at CIGNA
 3        Q. Correct?                                      3   0111, the detailed product information screens, I
 4        A. Correct, would not.                           4   just want to talk to you a little bit about these
 5        Q. If you could look at the next page,           5   screens. The first entry there has the product
 6    which is Bates labeled 01110, and this appears to    6   name for Atrovent, right?
 7    be a printout from the October 2000 Red Book for     7      A. Yes.
 8    Windows CD that lists all the products associated    8      Q. And then underneath it, it has a
 9    with ipratropium bromide; is that right?             9   generic name for ipratropium bromide, correct?
10        A. Yes. The products that I selected.           10      A. Yes.
11        Q. Okay. In -- in this particular sheet         11      Q. And you knew, didn't you, that the
12    that we're looking at, what would you have          12   generic name for these products was ipratropium
13    selected to get this particular printout from the   13   bromide at all pertinent times?
14    Red Book CD?                                        14      A. Yes.
15        A. I would have selected solution .02           15      Q. Okay. And Atrovent obviously is a
16    percent.                                            16   different kind of name than ipratropium bromide?
17        Q. That -- does that refer -- that refers       17      A. Yes.
18    to a specific J-code or HCPCS?                      18      Q. And that's why based upon the Red Book
19        A. Yes.                                         19   CD-ROM you would classify it as a brand, correct?
20        Q. Okay. So for that particular                 20      A. Yes, based on this and CMS
21    solution, this is -- these are all the -- the       21   instructions.
22    listings in the Red Books CD that you can see,      22      Q. Now, you see a -- that there's also a


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 23 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                     22 (Pages 82 to 85)
                                                     82                                                       84
 1    field that Red Book provided to you throughout       1   package sizes, but, again, the generic field is
 2    this time that is labeled Generic and has a Y/N.     2   telling you that that's a generic product,
 3    Did you understand that to be yes or no generic      3   correct?
 4    field?                                               4       A. Yes.
 5        A. Yes.                                          5       Q. Then if you turn to Page 8 and 9 of
 6        Q. And it tells you here that it -- that         6   this October 2000 printout, which is CIGNA 0118
 7    Red Book is classifying Atrovent as a brand drug,    7   and CIGNA 0119, you can see that the three
 8    right, because it has an N or a no next to the       8   Novaplus products are listed on the Red Book CD,
 9    generic field?                                       9   correct?
10        A. Yes.                                         10       A. Yes.
11        Q. And you understood that at the time,         11       Q. Okay. And -- and the way these are
12    right?                                              12   listed by product name, it has the generic
13        A. I quite honestly didn't go that far.         13   chemical name, ipratropium bromide, it then has a
14        Q. Okay. Well, let's talk -- let's talk         14   dash, and the word Novaplus, correct?
15    a little bit more about that in a second.           15       A. Yes.
16            Going through CIGNA 0111, you can see       16       Q. All right. And there are three
17    there's -- there's another listing of ipratropium   17   different NDC entries on Pages 8 and 9, and they
18    bromide from Allscripts manufacturer, and that      18   refer to different package sizes, correct?
19    has a generic yes in that field indicator. Do       19       A. Yes.
20    you see that?                                       20       Q. And for all three of these NDCs, the
21        A. Yes.                                         21   Red Book CD-ROM is telling you that these are
22        Q. So it's -- Red Book is telling you           22   also generic products, correct?
                                                     83                                                       85
 1    that it considers the Allscripts ipratropium         1       A. Yes.
 2    bromide to be a generic drug, correct?               2       Q. And it's telling you that because in
 3        A. Yes.                                          3   the specific generic field it has a Y for yes for
 4        Q. Then if you continue to flip through          4   all three NDCs; isn't that right?
 5    these next few pages, there's listings you'll see    5       A. Yes.
 6    for Alpharma ipratropium bromide, which is also      6       Q. Now, did you take that information
 7    called ipratropium bromide, and Dey's on Page 3      7   into account when you were classifying a Novaplus
 8    of the Red Book printout.                            8   product in the Cigna arrays?
 9            And if you continue on where there are       9       A. No.
10    some other NDCs and you get to Roxane's             10       Q. Can you explain why you didn't take
11    ipratropium bromide at the bottom of Page 5 of      11   that information into account?
12    this October 2000 Red Book CD, do you see that?     12       A. I was looking specifically at the name
13        A. Yes.                                         13   of the drug, the name of the drug being different
14        Q. And there the product name is                14   than the generic name, so I considered it a brand
15    ipratropium bromide, the manufacturer is Roxane,    15   name.
16    and on the top of Page 6, Red Book, again, is       16       Q. Okay. So the presence of the term
17    telling you that this is a generic product,         17   Novaplus preceded by a dash would lead you to
18    right?                                              18   believe that it was a brand name versus a generic
19        A. Yes.                                         19   name?
20        Q. Okay. And it's the same for the other        20       A. Yes.
21    Roxane label ipratropium bromides, which are        21       Q. And -- and just to be clear about the
22    listed on Page 6. They're both in different         22   testimony we talked about earlier, you're


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 24 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                     23 (Pages 86 to 89)
                                                     86                                                       88
 1    assuming that that was the decision that you made    1   would say, yes, they're mine.
 2    with respect to these drugs based upon the policy    2       Q. And -- and you would have circled them
 3    that Cigna had at the time; is that fair to say?     3   at the time that you had printed this out; is
 4           MR. FAUCI: Object to form.                    4   that correct?
 5           THE WITNESS: Yes.                             5       A. Yes.
 6    BY MR. GORTNER:                                      6       Q. Explain to me what the procedure was
 7       Q. And as -- as you sit here today, you           7   in terms of how these printouts were generated.
 8    don't have a specific recollection of exactly why    8       A. There really wasn't a procedure. I
 9    you classified these particular Novaplus products    9   printed them for my own reference in the event
10    here on Pages 8 and 9 as brands in the array?       10   that I had to go back and look at the array. I
11           MR. FAUCI: Object to the form.               11   would have the documentation since the CD
12           THE WITNESS: I still recollect that I        12   wouldn't be available.
13    classified them as brand because the name is        13       Q. All right. So is it fair to say that
14    different. So my instruction is still if the        14   all the printouts that we have that are attach --
15    name of the product is different than the generic   15   from the Red Book CD-ROM that are attached to the
16    name of the drug, then I consider it a brand.       16   back of these arrays were printed on or about the
17    BY MR. GORTNER:                                     17   time you were constructing the array that's --
18       Q. Yeah. And I -- I understand that that         18   precedes the printout?
19    was your policy, correct? That was the policy       19       A. Yes.
20    that you understood that you implemented during     20       Q. And then you kept these in your files
21    this time, right?                                   21   over all these years?
22       A. Yes.                                          22       A. Yes.
                                                     87                                                       89
 1        Q. My question is a little bit different.        1       Q. Now, why did you circle the single
 2    My question is, do you have a specific               2   dose vial, which is the acronym SDV, five-by-five
 3    recollection about the actual decision that you      3   protecta-pack? Why would you circle that?
 4    made with respect to this particular drug at the     4       A. I honestly don't know at this
 5    time it first was put into a Cigna array?            5   particular time. I had a question on it at that
 6        A. On here, I circled the Novaplus, so           6   time. And I can't tell whether I was circling
 7    that's where I was thinking I needed to consider     7   the single dose vial, protecta-pack, or the --
 8    it -- or check on it.                                8   whether it was the single dose vial or the fact
 9        Q. Okay.                                         9   that it was protecta-pack.
10        A. But other than that, no, I'm -- I'm          10          I didn't know if the protecta-pack was
11    still thinking it's -- it's a brand name.           11   like the Carpujects or something like that, I
12        Q. Now, looking at Pages 8 and 9 of this        12   think is what I was looking at to go back and
13    printout, what you're referring to are some         13   check, but I honestly don't know.
14    underlinings under the word Novaplus and some       14       Q. Okay. But there's no doubt that you
15    circles around the term on this particular          15   were looking specifically at these detailed
16    printout; is that right?                            16   product information printouts from the Red Book
17        A. Yes.                                         17   CD-ROM because you actually circled certain
18        Q. Can you identify those markings? Are         18   segments of the hard copy on this, right?
19    they your pen marks?                                19       A. Yes.
20        A. I believe that they are, yes.                20       Q. Okay. And, therefore, you would have
21        Q. You're not sure one way or the other?        21   -- you would have definitely seen that Red Book
22        A. I -- because the array is mine, I            22   had classified it as a generic drug, right?


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 25 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                             Nashville, TN
                                                                     24 (Pages 90 to 93)
                                                    90                                                        92
 1        A. I didn't look at that field.                  1   field yes-or-no field, that's something you
 2        Q. So you would print this out, but you          2   wouldn't pay attention to?
 3    would stop reading at a point earlier on this        3       A. I didn't go that far.
 4    printout?                                            4       Q. Just disregard that information
 5        A. I would only look at the fields that I        5   entirely?
 6    needed.                                              6       A. Yes.
 7        Q. And what were those fields?                   7       Q. Okay. If at the time you were
 8        A. I would be looking at the product             8   classifying this drug as a brand you had seen
 9    name, the Orange Book description, additional        9   that the Red Book, in fact, was telling you that
10    description, generic name.                          10   it was a generic drug, would that have changed
11        Q. Well, what about the Orange Book code,       11   your classification decision?
12    what would you look at for that?                    12       A. No.
13        A. There are certain Orange Book codes          13       Q. And the reason for that is?
14    that we had to exclude from the array.              14       A. Because the name of the drug has
15        Q. Which ones were those?                       15   Novaplus in it. And per the CMS instructions, if
16        A. I do not remember.                           16   the name of the drug is different than the
17        Q. Do you know what the Orange Book code        17   generic name, I consider it to be a brand name.
18    AN stands for?                                      18       Q. It wouldn't matter what the Red Book
19        A. I do not. The Red Book has a listing.        19   compendia told you about the classification of
20        Q. It has a listing in -- in the cover --       20   the drug as a generic or brand, that information
21    in the front cover of the Red Book?                 21   wouldn't be something you would consider?
22        A. The hard copy, I believe so. And on          22       A. I wouldn't consider it.
                                                    91                                                        93
 1    the CD, there is a drop-down box where you can       1      Q. How about another compendia,
 2    find it.                                             2   FirstDataBank, for instance, if it told you it
 3        Q. And what would you do? You would look         3   was a generic drug?
 4    at the -- the Orange Book code and then refer        4      A. I don't use FirstDataBank, so I would
 5    over to the CD or to a hard copy to figure out       5   not have gone there.
 6    what that Orange Book code was?                      6      Q. I'm saying hypothetically speaking if
 7        A. No. There are certain Orange Book             7   you had known at the time you were classifying
 8    codes in some of the earlier instructions from       8   this drug as a brand that the Red Book compendia
 9    CMS that were be -- to be excluded from the          9   and FirstDataBank classified it as a generic
10    arrays, so I needed to check to see which.          10   drug, and it had a code from the Orange Book that
11        Q. Okay. Well, would it surprise you to         11   indicated it was a generic drug, would that have
12    know that the AN designation from the Orange Book   12   made you consider whether it was a generic drug
13    code is in reference to a therapeutically           13   and not a brand?
14    equivalent solution, a generic drug? Would that     14      A. No.
15    surprise you?                                       15          MR. FAUCI: Object to the form.
16        A. I honestly don't know what they are,         16
17    so I wouldn't have looked. I mean, I don't -- it    17
18    wouldn't surprise me because I don't know exactly   18
19    what they are.                                      19   BY MR. GORTNER:
20        Q. Okay. But you looked at the Orange           20      Q. And you relied on the other
21    Book code, but you -- you wouldn't look at the      21   information from the Red Book, right? You relied
22    line that was seven lines down, in that generic     22   on the AWPs, correct?


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 26 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                     25 (Pages 94 to 97)
                                                     94                                                        96
 1        A. Yes.                                          1          THE WITNESS: That was -- yes, I looked
 2        Q. And you relied -- you relied on the           2   at the CD-ROM.
 3    product name being described accurately in the       3
 4    Red Book, right?                                     4
 5        A. Yes.                                          5
 6        Q. And you relied on its description of          6   BY MR. GORTNER:
 7    the route of administration, for instance?           7       Q. So the answer is, that's correct, that
 8        A. Yes.                                          8   it was based upon how the product was described
 9        Q. So you relied on information about            9   in the Red Book CD-ROM, correct?
10    package size?                                       10          MR. FAUCI: Object to the form.
11        A. Yes.                                         11          THE WITNESS: Yes, I based it on how it
12        Q. Okay. So you consider it to be a             12   was listed in the CD-ROM.
13    reliable source of -- of information pertinent to   13   BY MR. GORTNER:
14    your classification of this drug in the arrays,     14       Q. Did you at any point compare how
15    right?                                              15   things were listed in the CD-ROM to how they were
16        A. Yes.                                         16   listed in the printed Red Book?
17        Q. Why -- why wouldn't you rely upon the        17       A. No.
18    generic indicator?                                  18       Q. Did you do so for this particular
19        A. I didn't ever go that far. I -- if           19   product? The answer would be no, I assume, since
20    the name was different, I followed the CMS          20   you didn't do it for any product, right?
21    instructions and considered it a brand.             21       A. Right.
22        Q. Now, we -- we talked a moment earlier        22       Q. Probably withdraw that question.
                                                     95                                                        97
 1    that looking at the annual hard copy Red Book      1            Now, how about if the product was
 2    printout, this same rule that you're referring to  2     listed ipratropium bromide-Roxane instead of
 3    as the HCFA rule would have led you to classify    3     Novaplus?
 4    the product as a generic, correct?                 4            MR. FAUCI: Object to the form.
 5         A. Yes.                                       5     BY MR. GORTNER:
 6         Q. All right. So the classification of        6         Q. How would you have classified that
 7    the product as a generic or a brand in your        7     drug?
 8    arrays depended on whether you were looking at     8         A. I would have classified it as a brand
 9    the Red Book CD-ROM versus the Red Book hard copy 9      name.
10    version; is that correct?                         10         Q. And if the product were listed as
11             MR. FAUCI: Object to the form.           11     ipratropium bromide-CVS?
12             THE WITNESS: I would say yes because     12         A. I would have classified it as a brand
13    it's listed differently in both. The hard copy    13     name.
14    did not say Novaplus. It only said ipratropium    14         Q. And what are some other large retail
15    bromide. The CD says Ipratropium                  15     pharmacy chains in the Nashville area? Do you
16    Bromide-Novaplus. The names are different, so I   16     have Walgreens down here?
17    classified it based on how the name was listed.   17         A. We do.
18    BY MR. GORTNER:                                   18         Q. And you're familiar that Walgreens has
19         Q. Right. But the reason you classified      19     a series of drugs that it -- it lists under a
20    it as a brand drug was because you were looking   20     Walgreens name? For instance, have you seen
21    at the Red Book CD-ROM, correct?                  21     Walgreens ibuprofen, for instance?
22             MR. FAUCI: Object to the form.           22         A. I don't use Walgreens. I don't -- I'm


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 27 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                               October 16, 2009
                                             Nashville, TN
                                                                  26 (Pages 98 to 101)
                                                     98                                                   100
 1    not familiar with it.                                1       Q. Now, what's your understanding of what
 2        Q. What pharmacy do you use?                     2   a proprietary name is?
 3        A. Actually I go through Cigna Tel-Drug.         3          MR. FAUCI: Object to the form.
 4        Q. That would make sense given a Cigna           4          THE WITNESS: I quite honestly don't
 5    employee.                                            5   have an understanding of proprietary.
 6            Well, let's say that -- that the drug        6   BY MR. GORTNER:
 7    was listed as ipratropium bromide-Walgreens, for     7       Q. Okay. And do you have an
 8    instance. How would you have classified the drug     8   understanding of what a trade name is?
 9    like that?                                           9       A. My understanding is that it's specific
10        A. If the drug -- if we're talking about        10   to one entity. I mean, it's -- I don't really
11    it listed in the Red Book as, then I would          11   know the difference between -- I mean, I think
12    classify it as a brand name.                        12   it's specific to one company only, and no one
13        Q. It doesn't matter what comes after the       13   else can use that.
14    dash, anything that's different than the words      14       Q. Do you have any understanding whether
15    ipratropium bromide would lead you to classify      15   Novaplus is a trade name?
16    the drug as a brand?                                16          MR. FAUCI: Object to the form.
17        A. Yes.                                         17          THE WITNESS: I -- I don't.
18            MR. FAUCI: Objection to the form.           18   BY MR. GORTNER:
19    BY MR. GORTNER:                                     19       Q. You don't know one way or the other,
20        Q. So even if the title said Ipratropium        20   right?
21    Bromide-Novaplus and had a follow-up dash that      21       A. Right.
22    said this is a generic drug in the full title,      22       Q. Do you have any understanding whether
                                                     99                                                   101
 1    you would still classify it as a brand, wouldn't     1   Novaplus is a proprietary name?
 2    you?                                                 2      A. No, I don't.
 3            MR. FAUCI: Object to the form.               3      Q. You don't know one way or the other?
 4            THE WITNESS: I have never seen one           4          Now, with respect to the Novaplus
 5    that way, so I might at this particular point ask    5   drugs, were you familiar with that Novaplus
 6    for classification from CMS.                         6   designation?
 7    BY MR. GORTNER:                                      7      A. I have seen it in the array. But
 8        Q. Okay. So there's some point where you         8   familiar with it, no. I just put it into the
 9    would seek some information from somebody else to    9   arrays.
10    try to clarify whether that drug should be a        10      Q. So you didn't know what the Novaplus
11    generic or brand, right?                            11   meant?
12        A. Yes.                                         12      A. Correct.
13        Q. But you'd agree with me that even            13      Q. You didn't know that these were drugs
14    under that hypothetical scenario, technically       14   that were being sold exclusively to Novation's
15    that -- under your -- meets your understanding of   15   GPO members?
16    the HCFA rules of being a brand, right?             16      A. No.
17        A. Yes.                                         17      Q. But you knew that it was the same
18        Q. Because that title, even if it says          18   manufacturer, Roxane, as -- as the other
19    this is a generic drug, those are words that are    19   ipratropium bromide that was listed on Pages 5
20    different than exclusively the generic name of      20   and 6 of this Red Book CD, right?
21    the drug, right?                                    21      A. Same manufacturer, yes.
22        A. Yes.                                         22      Q. And you can see that the same -- the


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 28 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                27 (Pages 102 to 105)
                                                   102                                                      104
 1    same manufacturer had named both products with       1   three-year plus period that they were in the
 2    the terms ipratropium bromide in the title,          2   arrays?
 3    right?                                               3       A. No.
 4       A. Yes.                                           4       Q. And were you aware that the Palmetto
 5       Q. And with respect to the Roxane label           5   DMERC for one quarter isn't sure whether they
 6    ipratropium bromide, there was no doubt in your      6   classified that product as a generic or a brand
 7    mind that that was a generic product at all          7   in its array?
 8    times, correct?                                      8       A. No.
 9       A. Correct.                                       9       Q. And had you known that DMERC-A was
10       Q. And you never stopped to think about          10   classifying this product as a generic about that
11    the fact that Roxane had a generic product with     11   time would that have caused you to reconsider
12    the title ipratropium bromide in it and another     12   your classification of it as a brand?
13    product with the addition of Novaplus and that      13       A. We might have discussed it on the
14    those two products were likely to be generics?      14   call. We would have still said we thought it
15            MR. FAUCI: Object to the form.              15   should have been brand because of the name, but
16            THE WITNESS: No.                            16   there could have been discussion.
17    BY MR. GORTNER:                                     17       Q. Now, are you familiar with -- with the
18       Q. How about the fact that the AWPs were         18   process by which the Cigna Part B carrier
19    identical for the respective package sizes          19   constructs arrays for non-DMERC drugs?
20    between the Roxane label and the Novaplus label     20       A. No.
21    ipratropium bromide?                                21       Q. Where -- where is -- where is the
22       A. No.                                           22   Cigna Part B?
                                                   103                                                      105
 1       Q. You didn't pay attention to that?              1       A. Cigna Part B is in the same building.
 2       A. No.                                            2   They're on different floors than I am.
 3       Q. Can you think of any instance where            3       Q. So they're located in the same
 4    you were unsure whether a product should be          4   building as you?
 5    classified as a generic or a brand?                  5       A. Yes.
 6       A. I cannot.                                      6       Q. Do you ever interact with the staff
 7       Q. Do you think there was any such                7   that construct arrays for Cigna Part B?
 8    instance where there was confusion in your mind      8       A. As far as developing the arrays?
 9    about whether a product should be a generic or a     9       Q. Yes.
10    brand?                                              10       A. The only interaction I've had is
11           MR. FAUCI: Object to the form.               11   helping them -- or they looked at some of our
12           THE WITNESS: I honestly can't remember       12   spreadsheets initially when they were going from
13    specifics. I can't say that during that entire      13   hard copy to spreadsheets.
14    time that there might have been some                14       Q. Okay.
15    conversations for -- on the different calls with    15       A. And then, of course, with the CD when
16    the DMERCs, whether we classify, you know, in the   16   we went to multiuser, we have to -- the -- the CD
17    brand or the generics when we were discussing the   17   is shared between the two contracts, so we
18    arrays and we came out with different amounts.      18   interact with getting the CD tested and loaded.
19    BY MR. GORTNER:                                     19       Q. But you never interact with them in
20       Q. Are you aware that DMERC-A classified         20   terms of how they classify products as generics
21    these same Ipratropium Bromide-Novaplus products    21   or brands, for instance?
22    as generic products in their arrays the entire      22       A. No.


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 29 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                28 (Pages 106 to 109)
                                                    106                                                     108
 1        Q. Now, as far as you know, isn't Part B         1   applied to the Part B but did not apply to the
 2    operating under the same criteria for classifying    2   DMERCs.
 3    generics and brands as the DMERCs are?               3        Q. Let's take a look at this HCFA
 4        A. I don't know.                                 4   transmittal that you've been referring to. Maybe
 5        Q. But do you see any reason based on            5   that will help clarify this issue. I'm going to
 6    your awareness of the HCFA transmittal and the       6   hand you what's been previously marked as Abbott
 7    Medicare drug pricing procedure documents why        7   529. We're going to go ahead and mark it as
 8    Cigna's Medicare Part B carrier should be            8   Roxane 263.
 9    classifying drugs differently than you as the        9           (Marked Exhibit Roxane 263.)
10    DMERC should?                                       10   BY MR. GORTNER:
11        A. I don't have their instructions, so I        11        Q. Here you go, Ms. Helton. And this is
12    can't say. We had different regional contracts.     12   Transmittal No. AB-98-76 dated December 1998, and
13    We look at drugs differently because we have        13   it's a program memorandum to intermediaries and
14    different coverage criteria. So I cannot say how    14   carriers. Do you see this?
15    they actually classify and if they have the same    15        A. Yes.
16    instructions.                                       16        Q. And I'll draw your attention to the
17        Q. So it's possible that they're using          17   middle of the page under calculation of the AWP
18    different criteria for classifying drugs than you   18   No. 2, HCFA writes in the second sentence, "A
19    are?                                                19   brand name product is defined as a product that
20        A. Yes.                                         20   is marketed under a label name that is other than
21        Q. So maybe they're not looking to the --       21   the generic chemical name for the drug or
22    to the product name to see whether it's a gen- --   22   biological."
                                                    107                                                     109
 1    whether it's a generic chemical name or something    1          Do you see that?
 2    other than generic chemical name to determine        2       A. Yes.
 3    whether it's a brand; is that right?                 3       Q. And that's the -- the criteria that
 4        A. I don't have their instructions, so I         4   you've been referring to that you apply to
 5    -- I would say that they could have different        5   classifying drugs as generics or brands, right?
 6    instructions. I just don't know.                     6       A. Yes.
 7        Q. But you know, don't you, that they            7       Q. And this program memorandum was sent
 8    have classified other drugs that have the label      8   to all Medicare carriers, right?
 9    Novaplus in it as a generic and not a brand,         9       A. I cannot say whether it was or. It --
10    right?                                              10   I mean, it appears at the top. All I know is
11        A. I did get some of their -- or looked         11   that I received it.
12    at some of their arrays for this case. Those        12       Q. Do you have any reason to believe that
13    were some that were sent to me, and, yes, I did     13   -- that this program memorandum and the statement
14    see that they arrayed them as generics.             14   within it here with respect to brand name
15        Q. Okay. So even within Cigna, there            15   products wouldn't apply to Cigna's Part B
16    wasn't consistency between the DMERC                16   carrier?
17    classification of a drug with a Novaplus in its     17       A. I don't know if they get separate
18    title and the Part B classification of the drug     18   instructions or not.
19    with Novaplus in its title, right?                  19       Q. Well, in terms of establishing the
20        A. Yes, but they're different contracts         20   payment methodology for Part B drugs, is it your
21    with different -- possibly different                21   understanding that Cigna's Part B drugs would be
22    instructions. For example, single drug pricer       22   paid under a different methodology than the


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 30 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                             Nashville, TN
                                                                29 (Pages 110 to 113)
                                                   110                                                       112
 1    median AWP of generics or the brand AWP if it        1       A. Yes.
 2    were lower?                                          2       Q. Okay. And then above, there's a
 3       A. I don't know what methodology they             3   listing of products that appear to be in the
 4    used. I -- I wasn't -- when these instructions       4   generic portion of the array, correct?
 5    came out, I wasn't in the loop of who they were      5       A. Yes.
 6    sent to. I only got them after the fact, so I        6       Q. And included in that generic portion
 7    can only say that I saw the instruction.             7   are doxorubicin Novaplus with a parens for
 8       Q. But you've been using that -- that             8   Bedford, right?
 9    instruction throughout the time period 2001 to       9       A. Yes.
10    2004, right?                                        10       Q. And -- and that would indicate to you
11       A. Yes.                                          11   that the Part B carrier had classified it -- the
12       Q. Let's take a look at what I'll mark as        12   drug name doxorubicin Novaplus as a generic?
13    Roxane Exhibit 264.                                 13       A. Yes.
14           (Marked Exhibit Roxane 264.)                 14       Q. And had you been looking at that same
15    BY MR. GORTNER:                                     15   drug with that same name, you would have
16       Q. And I believe this is a document you          16   classified it as a brand; isn't that right?
17    may have seen before. It is a -- an array from      17       A. That is correct.
18    the Cigna Medicare Part B carrier with respect to   18       Q. And you don't know of any reason,
19    a drug called doxorubicin hydrochloride. Have       19   though, do you, why one drug should be classified
20    you seen this document before, Ms. Helton?          20   as a brand in a DMERC scenario versus a generic
21       A. I'm not sure if this is one that was          21   in a Part B scenario, do you?
22    sent to me to look at or not.                       22       A. I don't have Part B's instructions,
                                                   111                                                       113
 1        Q. Okay. I'll represent to you that --           1   so, no, I'm not aware.
 2    the document as I described it a moment ago. And     2       Q. But depending upon the classification
 3    as you can see at the top in the pricing sheet,      3   of the drug as a generic or a brand, I mean, that
 4    it says, "Doxorubicin hydrochloride HCL," and        4   could significantly change the fee payment amount
 5    then it has a reference specifically to Novaplus     5   that you set, right?
 6    in the title. Do you see that?                       6       A. Yes.
 7        A. Yes.                                          7       Q. If it turned out that the brand AWP
 8        Q. And the document is dated May 13th,           8   was significantly lower than the median generic,
 9    2002, right?                                         9   then that could have an impact theoretically,
10        A. Yes.                                         10   right?
11        Q. And it looks like it's the 2002              11       A. Okay. Could you repeat that?
12    pricing for the third quarter, correct?             12          MR. GORTNER: That's all right. I'll
13        A. Yes.                                         13   withdraw the question. That's fine.
14        Q. And if you look at the bottom of the         14          Why don't we take a quick break, and I
15    -- of the array, you can see that there's a         15   can see how much more time, if any, I need. Okay?
16    series of entries for what says brand Rx, and       16   Thanks.
17    those appear to be entries for products that are    17          THE VIDEOGRAPHER: Going off the
18    in the brand portion of the array. Do you see       18   record, time is 11:21.
19    that?                                               19          (Brief recess observed.)
20        A. Yes.                                         20          THE VIDEOGRAPHER: Back on the record.
21        Q. It begins with the term Adriamycin. Do       21   Time is 11:30.
22    you see that?                                       22


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 31 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                30 (Pages 114 to 117)
                                                   114                                                      116
 1    BY MR. GORTNER:                                      1   versus CD-ROM, for instance?
 2        Q. Ms. Helton, going back to your                2      A. No.
 3    classification of Novaplus Ipratropium Bromide as    3      Q. So a manufacturer like Roxane, for
 4    a brand, was it the case that when you made your     4   instance, wouldn't know that you were looking to
 5    initial classification it remained the same at       5   the Red Book CD-ROM versus the annual printed Red
 6    each period where you updated the array? In          6   Book, for instance, to set up your pricing
 7    other words, you wouldn't go back and reconsider     7   arrays?
 8    the classification of the product each quarter?      8      A. No.
 9        A. Correct. If the name didn't change --         9          MR. FAUCI: Object to the form.
10    remained the same, I wouldn't have reclassified     10   BY MR. GORTNER:
11    it.                                                 11      Q. And Roxane wouldn't know, therefore,
12        Q. Okay. So what probably happened here         12   that you were classifying Ipratropium
13    was the first time that the product showed up in    13   Bromide-Novaplus as a brand based upon the Red
14    the Red Book and you determined that it should be   14   Book CD-ROM, correct?
15    put into the array as a brand, that -- that         15      A. Correct.
16    decision wasn't evaluate -- reevaluated each --     16          MR. FAUCI: Object to the form.
17    each quarter, right?                                17   BY MR. GORTNER:
18        A. As long as nothing changed on the --         18      Q. And Roxane wouldn't know that you had
19    on the name, correct.                               19   put the Ipratropium Bromide-Novaplus product into
20        Q. Well, was the process such that the --       20   your brand versus generic array, correct?
21    that the -- the actual arrays would be resaved or   21      A. Correct.
22    reused from quarter to quarter? In other words,     22      Q. If you had called Roxane and asked

                                                   115                                                      117
 1    what I mean to say is that the first time that       1   them whether they considered Ipratropium
 2    Novaplus showed up as a brand in the array you       2   Bromide-Novaplus product to be a generic or brand
 3    constructed, would the next quarter of arrays        3   and they had told you that they always believed
 4    simply you opening up that file again and            4   it was a generic, would that have affected your
 5    importing any new drugs that came in but             5   classification decision?
 6    otherwise leaving the drugs that were in there       6       A. I wouldn't have the need to call them.
 7    unaltered?                                           7   I'm going by my instructions, so I wouldn't have
 8        A. Yes, we -- we would verify the old            8   contacted them for that information.
 9    drugs, that there were no changes in AWP,            9       Q. My question is a little different. I'm
10    packaging. And if they remained the same, then      10   not asking you just to assume that you did, in
11    we didn't make changes to them; we added the new    11   fact, contact Roxane about Ipratropium
12    ones that came in.                                  12   Bromide-Novaplus and a Roxane representative
13        Q. Okay. But as long as that name was           13   informed you that they always considered this to
14    the same, it remained a brand in your arrays        14   be a generic and not a brand product. Would that
15    across time?                                        15   have affected your classification decision?
16        A. Yes.                                         16          MR. FAUCI: Object to the form.
17        Q. Now, with respect to Cigna's decision        17          THE WITNESS: I would say no, because
18    in concert with other DMERCs to look principally    18   based on the instructions, the name being
19    to Red Book's CD-ROMs for pricing information,      19   different makes it a brand.
20    would anyone outside of the DMERCs have a way of    20   BY MR. GORTNER:
21    knowing which particular Red Book you were          21       Q. Now, with respect to the name being
22    looking at to make your pricing arrays, printed     22   different, I mean, the actual phrase that you've


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 32 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                31 (Pages 118 to 121)
                                                   118                                                      120
 1    been referring to is if it's a -- a product name     1   brands. So that's how I consider them brands.
 2    that is other than a generic chemical name; is       2           But as far as how the pharmaceutical
 3    that correct?                                        3   companies do the naming, no, I'm not familiar
 4       A. Let's see. "Brand name product is              4   with it.
 5    defined as a product that is marketed under a        5   BY MR. GORTNER:
 6    label name that is other than the generic            6       Q. And -- and the concept that every
 7    chemical name for the drug or biological."           7   single generic drug for ipratropium bromide that
 8       Q. And that's the -- that's the rule that         8   you placed into your generic array had the
 9    you testify you were using for classifying the       9   generic chemical name ipratropium bromide in its
10    Novaplus product?                                   10   title, that wasn't a factor that you considered
11       A. Yes.                                          11   in determining whether a drug that had
12       Q. Would you agree with me that the name         12   ipratropium bromide in its title plus the term
13    Ipratropium Bromide-Novaplus doesn't fall clearly   13   Novaplus might be at least in an ambiguous
14    within that particular rule?                        14   position with respect to that rule?
15           MR. FAUCI: Object to the form.               15           MR. FAUCI: Object to the form.
16           THE WITNESS: No, I actually think it         16           THE WITNESS: I don't really understand
17    does.                                               17   the complete question. I mean --
18    BY MR. GORTNER:                                     18   BY MR. GORTNER:
19       Q. Were you familiar during the course of        19       Q. Let's see if I can simplify it. I
20    your work with Cigna about normal industry naming   20   mean, we have a situation here where every single
21    conventions for generic versus brand drugs?         21   drug that you classified as a generic in your
22           MR. FAUCI: Object to the form.               22   array was called ipratropium bromide, which was
                                                   119                                                      121
 1           THE WITNESS: Not naming conventions,          1   the generic chemical name, correct?
 2    no.                                                  2      A. Yes.
 3    BY MR. GORTNER:                                      3      Q. Right. And you have a situation where
 4        Q. During the course of preparing the            4   here comes another drug that's called Atrovent,
 5    arrays, you weren't aware that brand drugs are       5   something completely different, and you put that
 6    typically given a -- a name that doesn't refer to    6   in a brand, right?
 7    the generic chemical name like Atrovent, for         7      A. Yes.
 8    instance, or Valium?                                 8      Q. Then there's a third situation where
 9        A. No, I only follow the instructions            9   you have a drug that has the term ipratropium
10    that I have.                                        10   bromide in its title, which is the generic
11        Q. Okay. So during the process of               11   chemical name, right?
12    implementing the instructions, you weren't          12      A. Yes.
13    informed by any understanding as to how the         13      Q. Which is the basis by which you
14    pharmaceutical industry typically names brand       14   classified the other drugs with those two words,
15    versus generic drugs?                               15   ipratropium bromide, as generics, correct?
16           MR. FAUCI: Object to the form.               16      A. Yes.
17           THE WITNESS: I don't have any input          17      Q. And then -- that has the addition of a
18    with the pharmaceutical industry, so I'm only       18   dash and the term Novaplus, correct?
19    looking at it from the standpoint of what my        19      A. Yes.
20    instructions are and what's in the source that      20      Q. My question is, under that third
21    I'm looking at. And I can see that certain          21   scenario where you have both the generic chemical
22    products, you know, that had different names are    22   name and an additional name, wouldn't you agree


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 33 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                32 (Pages 122 to 125)
                                                   122                                                       124
 1    with me that there's a reasonable interpretation     1      A. Correct.
 2    that a drug that's named like that falls             2      Q. Did you know that the Administar DMERC
 3    somewhere in between?                                3   classified the Roxane labeled ipratropium bromide
 4       A. No.                                            4   product as a generic for over a year?
 5           MR. FAUCI: Object to the form.                5      A. No.
 6    BY MR. GORTNER:                                      6      Q. You weren't aware of that either?
 7       Q. And the reason is because any term in          7      A. No.
 8    addition to the generic chemical name in your        8      Q. And that was a product that you
 9    view automatically makes it a brand; is that         9   classified as a generic the entire time it was in
10    right?                                              10   the Cigna arrays; isn't that correct? I'll
11       A. Yes.                                          11   represent to you that you did.
12       Q. Now, did you assume throughout this           12      A. Okay.
13    time that the other DMERCs were applying the same   13      Q. Okay. And that decision whether to
14    type of rule that you were with respect to          14   put Roxane labeled ipratropium bromide in a
15    classifying drugs such as Ipratropium               15   generic array for Cigna at least was based on
16    Bromide-Novaplus as a brand or a generic?           16   this same HCFA rule that we've been talking about
17       A. Yes.                                          17   about whether it's a generic chemical name or
18       Q. Now, what's your explanation if the           18   not, right?
19    rule was clear as you contend how DMERC-A           19      A. Yes.
20    classified the exact same drug with the exact       20      Q. And you believe that Administar was
21    same name as a generic for over three years?        21   applying that -- that rule as well?
22       A. I don't have an explanation.                  22      A. I assumed they were.
                                                   123                                                       125
 1       Q. But wouldn't that suggest to you that,         1      Q. And their application of that rule led
 2    therefore, the rule, if, in fact, DMERC-A was        2   them to misclassify the Roxane labeled product as
 3    applying it, is not as clear as you would suggest    3   a brand for over a year?
 4    --                                                   4          MR. FAUCI: Object to the form.
 5           MR. FAUCI: Object.                            5   BY MR. GORTNER:
 6    BY MR. GORTNER:                                      6      Q. Do you know that?
 7       Q. -- with respect to this product?               7      A. I don't know actually how they
 8           MR. FAUCI: Object to the form.                8   classified it, so I don't know.
 9           THE WITNESS: To me, the rule seems            9      Q. Does that additional piece of
10    clear, so I can't speculate on what A did.          10   information, assuming it to be true, lead you to
11    BY MR. GORTNER:                                     11   reconsider whether you believe that HCFA rule is
12       Q. Have you had sufficient interactions          12   clear with respect to Ipratropium
13    with DMERC-A representatives during this time       13   Bromide-Novaplus?
14    period 2001 and 2004 to -- to determine whether     14          MR. FAUCI: Object to the form.
15    you think they can perform their job duties         15          THE WITNESS: To me, the rule seems
16    competently?                                        16   clear.
17       A. No.                                           17   BY MR. GORTNER:
18           MR. FAUCI: Object to the form.               18      Q. I wanted to go back quickly to your
19    BY MR. GORTNER:                                     19   declaration which we marked earlier today as
20       Q. It's the same for all the other               20   Roxane 260, I believe. If you could turn to Page
21    DMERCs, you don't know whether they were doing      21   13 in particular of your declaration.
22    their job competently or not?                       22          In Paragraph 31 of the declaration, you


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 34 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                             Nashville, TN
                                                                33 (Pages 126 to 129)
                                                   126                                                      128
 1    mentioned, "During the period 2001, quarter 2, to    1          So we would look at any Red Books that
 2    2003, quarter 4, when Roxane's Novaplus were in      2   we would get in between that time, such as
 3    the arrays, Cigna generally used the quarterly       3   November or December, to see if we could pick up
 4    CD-ROM as a source of information."                  4   any additional changes that we needed to.
 5           Do you see that in Paragraph 31?              5          Generally we would refer to those, and
 6        A. Yes.                                          6   Red Book had changes in red print, so we would
 7        Q. Now, you don't mention the use of the         7   only be looking at the ones that were in red
 8    -- the monthly Red Book updates during this time     8   print.
 9    period. But you were using those as well,            9      Q. Do you know if you ever looked to the
10    weren't you?                                        10   monthly updates to the Red Book in deciding how
11        A. We were checking those to see if there       11   to classify Ipratropium Bromide-Novaplus as a
12    were any additions that weren't copied in the CD.   12   brand or a generic?
13        Q. Okay. So you were using both the             13      A. No.
14    CD-ROM and the paper versions of the Red Book       14      Q. No, you do not know; or, no, you
15    during this time as well, correct?                  15   didn't?
16        A. The monthly, yes.                            16      A. No, we didn't. Sorry.
17        Q. The answer is yes?                           17      Q. Thank you. That was my fault.
18        A. Yes.                                         18          Can you look back at Exhibit 263? I
19           MR. GORTNER: I don't have any further        19   believe this was the program memoranda. We've
20    questions. Thank you so much for your time.         20   talked at length about the language contained in
21           MR. FAUCI: Marisa, do you have any           21   Paragraph 2 under the calculation of the AWP. Do
22    questions?                                          22   you see that?
                                                   127                                                      129
 1           MS. LORENZO: No, I do not. Thank you.         1       A. Yes.
 2           MR. FAUCI: How much time do we have?          2       Q. Can you read the last sentence of that
 3           THE VIDEOGRAPHER: It looks like about         3   paragraph?
 4    14 minutes.                                          4       A. "A brand name product is defined as a
 5           MR. FAUCI: Let's try.                         5   product that is marketed under a label name that
 6              EXAMINATION                                6   is other than the generic chemical name for the
 7    BY MR. FAUCI:                                        7   drug or biological."
 8        Q. Ms. Helton, I just have a very few            8       Q. Did you rely on this language in
 9    quick follow-up questions.                           9   making classification decisions?
10           First, just in response to testimony         10       A. Yes.
11    you just gave, you said that you were -- at the     11       Q. Can you go to Exhibit 261, and I'll
12    time you were using the Red Book for Windows        12   direct your attention to the Page 368. Is this a
13    program you were also using the monthly updates;    13   -- is this pages excerpted from the 2001 hard
14    is that correct?                                    14   copy version of the annual Red Book?
15        A. Yes.                                         15       A. Yes.
16        Q. Can you explain how you used the             16       Q. And you see that there's a section
17    monthly updates for what purpose?                   17   related to ipratropium bromide?
18        A. The quarterly Windows was a month            18       A. Yes.
19    behind when we would be developing the fees. For    19       Q. Do you recall talking to Mr. Gortner
20    example, we would be using the October 2009 to      20   earlier about the Roxane products that are listed
21    establish the -- or October 1999 to establish the   21   in the second column?
22    January 2000 fees.                                  22       A. Yes.


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 35 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                 October 16, 2009
                                              Nashville, TN
                                                                34 (Pages 130 to 133)
                                                   130                                                      132
 1        Q. And you gave some testimony that those        1       Q. Is this -- is -- how you would have
 2    products -- based on what you see here you would     2   used this program is by typing in the drug you
 3    have classified those products -- all six of         3   were looking to get information on into the
 4    those products as generics; is that correct?         4   search screen?
 5        A. Yes, that's --                                5       A. Yes.
 6        Q. Can you explain why you would have            6       Q. And if you had typed in ipratropium,
 7    done so?                                             7   is this what would have come up on the screen?
 8        A. Because they only list the name of the        8       A. Yes.
 9    drug as ipratropium bromide.                         9       Q. What would have happened if you
10        Q. If for the 8404 NDCs the product was         10   clicked ipratropium, if you had hit enter or
11    listed as Ipratropium Bromide-Novaplus, how would   11   okay?
12    you have classified them?                           12       A. On this particular one?
13        A. A brand name.                                13       Q. On this particular screen -- no, which
14        Q. Just going to very quickly -- we've          14   of these would you have selected?
15    been talking about the Red Book for Windows         15       A. I would have selected the lower case,
16    program, and I'd just like to ask a quick few       16   the ipratropium bromide, because it would have
17    questions.                                          17   pulled all of the ipratropium bromides into that
18           (Marked Exhibit US 265.)                     18   and then hit okay.
19    BY MR. FAUCI:                                       19       Q. And what would have happened then?
20        Q. Do you recognize this, Ms. Helton?           20       A. Then it would have brought up a list
21        A. Yes.                                         21   of manufacturers for the different drugs.
22        Q. What is it?                                  22       Q. And you would have used that list of
                                                   131                                                      133
 1        A. It's the search database that comes up        1   manufacturers to -- how would you have used that
 2    when you open -- enter Red Book.                     2   list of manufacturers?
 3        Q. Just for the record, I'll represent           3       A. I would have said select all, because
 4    that I did a print screen from the -- a version      4   I wanted to pull all manufacturers in, and then
 5    of the Red Books for Windows. And you've             5   hit okay.
 6    identified this as the search database?              6       Q. And can you explain what that would
 7        A. Yes.                                          7   have done?
 8        Q. Is this the first screen that popped          8       A. It then brings up the detailed screen,
 9    up when you looked at the Red Book for Windows?      9   which are some of these that we looked at the
10        A. Yes.                                         10   prints.
11        Q. You can put that aside.                      11       Q. On Exhibit 262?
12           (Marked Exhibit US 266.)                     12       A. Yes -- well, actually, it brings up
13    BY MR. FAUCI:                                       13   another screen before the ones on 262 where it
14        Q. Do you recognize Exhibit 266, Ms.            14   lists all of the -- it has -- it's the -- the
15    Helton?                                             15   product information screen comes up, and it lists
16        A. Yes.                                         16   all of the manufacturers and the products that
17        Q. What is this -- what does this appear        17   meet that ipratropium bromide generic
18    to be?                                              18   description.
19        A. Once you type in the brand into the          19           And then I go in and make my selections
20    selection field, this is the array that you get     20   for the code that I'm trying to process as to
21    that comes up with the word ipratropium. And it     21   what actually I'm going to pull into the array
22    has an N capitalized in lowercase.                  22   based on the strength and the type of the drug.


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 36 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                                October 16, 2009
                                              Nashville, TN
                                                                35 (Pages 134 to 136)
                                                   134                                                     136
 1       Q. And then at some point in that                 1             REPORTER'S CERTIFICATE
 2    process, you would generate a list of the            2            I certify that the witness in the
 3    products that fit the code; is that true?            3   foregoing deposition, CAROLYN HELTON, was by me
 4       A. Yes.                                           4   duly sworn to testify in the within entitled
 5       Q. And if you turn to Exhibit 262 on Page         5   cause; that the said deposition was taken at the
 6    CIGNA 0102, is that a representation of what such    6   time and place therein named; that the testimony
 7    a printout would look like?                          7   of said witness was reported by me, a Shorthand
 8       A. Yes.                                           8   Reporter and Notary Public of the State of
 9           MR. FAUCI: I have no further                  9   Tennessee authorized to administer oaths and
10    questions.                                          10   affirmations, and said testimony, pages 1 through
11              EXAMINATION                               11   117 was thereafter transcribed to typewriting.
12    BY MR. GORTNER:                                     12            I further certify that I am not of
13       Q. Just a quick follow-up since we're on         13   counsel or attorney for either or any of the
14    this exhibit. If you go to CIGNA 0110, is that      14   parties to said deposition, nor in any way
15    similar to the page that Mr. Fauci was just         15   interested in the outcome of the cause named in
16    asking you about, that same page would be           16   said deposition.
17    generated when you enter ipratropium bromide and    17            IN WITNESS WHEREOF, I have hereunto
18    go through those steps?                             18   set my hand the 19th day of October, 2009.
19       A. Yes.                                          19
20       Q. Okay. So by entering ipratropium into         20          ____________________________________
21    the search screen on Red Book CD-ROM, it would      21          Elisabeth A. Miller, RPR, RMR, CRR
22    include this list of ipratropium bromide products   22            My commission expires: 3/11/2011

                                                   135
 1    at that particular point in time?
 2        A. Yes.
 3           MR. GORTNER: No further questions on
 4    my end.
 5           MR. FAUCI: Thank you very much for
 6    your time, Ms. Helton.
 7           THE VIDEOGRAPHER: This concludes the
 8    deposition of Carolyn Helton, Volume 1. Number
 9    of tapes used was two. Going off the record,
10    time is 11:52.
11           (Proceedings adjourned at 11:52 a.m.)
12           FURTHER DEPONENT SAITH NOT.
13
14                  __________________________
15                   SIGNATURE OF THE WITNESS
16
17    Subscribed and sworn to and before me
18    this ________ day of ___________________, 20____.
19
20
21    ___________________________________
22         Notary Public


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 37 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                   October 16, 2009
                                         Nashville, TN
                                                                                                  1

         A           administer            12:13,14 15:17     131:20 133:21    assumption
 AB 42:14              136:9               17:15 22:17      arrayed 107:14       34:7
 Abbott 108:6        administration        25:12 34:10      arrays 10:6 14:2   Atrovent 56:18
 ability 22:18         94:7                96:7,19 126:17     14:18 18:19        56:20 57:5
   25:13 60:15       Adriamycin          answers 8:7          19:1 20:1 21:5     81:6,15 82:7
 able 19:4 62:2        111:21            anyway 12:14         21:14 28:18        119:7 121:4
   78:18             advice 15:17        appear 71:2          30:7 31:12       attach 88:14
 absolutely 33:22      25:11               111:17 112:3       33:5,16,17       attached 75:21
 AB-98-76            affidavit 25:12       131:17             53:6 55:12         88:15
   108:12            affirmations        APPEARAN...          57:7,18 62:9     attempt 34:2,11
 access 62:1           136:10              2:1 3:1            64:20 67:12      attempted 21:6
   74:12 78:5        afield 24:12        appears 75:18        68:20,21 75:12   attention 46:21
 account 85:7,11     ago 52:11 59:10       75:20 76:5         75:19 76:17,18     92:2 103:1
 accurate 41:15        63:17 65:13         79:6 109:10        77:5 80:17         108:16 129:12
   63:14               66:9 111:2        application          85:8 88:16       attorney 2:5
 accurately 94:3     agree 58:5 99:13      125:1              91:10 94:14        136:13
 acronym 40:13         118:12 121:22     applied 52:8         95:8 101:9       attorneys 15:15
   89:2              agreed 5:13           108:1              103:18,22          15:15
 Action 1:15           7:12 60:7 63:9    applies 21:21        104:2,19 105:7   Attorney's 6:19
 actual 16:14        agreement 65:4      apply 48:19          105:8 107:12       9:19
   18:16 20:6        ahead 12:13           50:15,22 108:1     114:21 115:3     authorized
   34:18 40:2,5        108:7               109:4,15           115:14,22          64:21 76:14
   75:14 77:5        akin 53:1           applying 48:8        116:7 119:5        136:9
   87:3 114:21       al 1:13,14            122:13 123:3       124:10 126:3     automatically
   117:22            albuterol 27:1,7      124:21           aside 14:17 22:9     122:9
 add 54:9            allowed 63:18       approached           68:17 131:11     available 38:14
 added 51:19         Allscripts 82:18      9:17,18          asked 9:21 10:3      38:15 67:13
   54:18 56:15         83:1              approaches           10:7 12:16         75:4 77:4
   115:11            Alpharma 83:6         25:21              13:8,16 20:19      78:18 80:16
 addition 69:14      Amber 18:10,11      area 75:8 97:15      116:22             88:12
   69:18 102:13        18:15,21 22:9     areas 26:7,12      asking 9:5 17:11   Avenue 3:6 5:6
   121:17 122:8      ambiguous           array 4:14,16        26:12 117:10     average 1:5 6:4
 additional 9:19       120:13              32:15 54:4         134:16             10:6 11:15
   52:18 57:11       America 1:11          75:20 76:6       aspects 9:21         41:5,7
   90:9 121:22       amount 31:6           77:14 78:7,20      10:2,4           aware 64:16,19
   125:9 128:4         32:10 113:4         78:21 86:10      assistance 54:22     67:4,18 68:14
 additions           amounts 103:18        87:5,22 88:10    Assistant 2:5        68:22 103:20
   126:12            annual 16:8,9         88:17 90:14      associated 79:8      104:4 113:1
 adhered 65:5          16:10,14 46:20      101:7 104:7      assume 42:19         119:5 124:6
 adjourned             57:20 59:4,20       110:17 111:15      96:19 117:10     awareness
   135:11              60:14 61:4,19       111:18 112:4       122:12             106:6
 Administar            61:20 95:1          114:6,15 115:2   assumed 124:22     AWP 41:8,14
   29:19 124:2,20      116:5 129:14        116:20 120:8     assuming 22:4        42:21 43:10,18
                     answer 8:9,20         120:22 124:15      86:1 125:10        43:22 44:7,8


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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 38 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                  October 16, 2009
                                         Nashville, TN
                                                                                                 2

   44:13 73:4       106:5 116:13         bold 47:3 48:1      16:9,17,18        117:14,19
   108:17 110:1,1   117:18 124:15         48:12,14           79:22 128:1       118:4,21 119:5
   113:7 115:9      130:2 133:22         boldface 44:18      131:5             119:14 121:6
   128:21         basically 32:6          45:1,2            Book's 115:19      122:9,16 125:3
 AWPs 41:14         36:14 41:5           book 4:11 15:4     Boston 2:8         128:12 129:4
   43:17,22 93:22 basing 11:8             15:5,6,22 16:5    bottom 43:1        130:13 131:19
   102:18         basis 12:17 41:9        16:6,9 20:7,8      49:18 76:10      brands 14:16
 a.m 5:4 6:9        78:9 121:13           45:18 46:2,8       83:11 111:14      15:2 17:9
   135:11         Bates 42:20 76:5        46:20 48:20       box 91:1           20:12 25:1
                    79:6 80:4             50:18 57:21       boxes 4:12 71:7    32:17 34:14,16
        B         Bedford 112:8           58:2,12 59:1,4     71:9,10 72:3,7    35:1,5 43:4,10
 B 14:5 40:21     beginning 66:4          59:12,15 60:11    brand 10:9,18      44:22 45:6
  41:13 42:3      begins 6:2 43:3         61:4,12,15,21      11:17 13:15,20    65:16 70:4
  104:18,22         76:4 111:21           62:2,10,13,22      20:4 21:2,8       86:10 105:21
  105:1,7 106:1 behalf 1:21 5:2           63:4,9,13,18       28:7 34:6 41:8    106:3 109:5
  106:8 107:18    believe 10:11           64:1,4 65:3,4,9    41:14,21 43:8     120:1,1
  108:1 109:15      12:18 13:11           65:14,15 66:17     43:18,22 44:10   break 9:1,2 46:6
  109:20,21         25:20 26:5            66:18,19 67:9      44:17 47:13       46:7 65:18
  110:18 112:11     29:2 34:15            67:15 68:3,7       48:11,17 49:6     113:14
  112:21            37:13 38:17           68:22 69:9,13      50:17 52:6,22    Brief 46:13 66:2
 back 11:2,7 12:3   39:9 40:2             70:2,9 73:9,12     53:4,4 55:8,13    113:19
  12:20 16:21       63:21 85:18           73:15,22 74:3      56:1,5,11,16     bring 31:22
  21:5 23:17        87:20 90:22           75:4,14,21         56:22 57:6,18    brings 133:8,12
  46:14 49:8        109:12 110:16         79:7,14 80:6       66:12,15,21      bromide 19:22
  66:3,7 71:13      124:20 125:11         80:11,21 81:18     67:7 68:6,14      31:4 32:5,9
  72:3 88:10,16     125:20 128:19         82:1,7,22 83:8     69:6 78:7,21      33:5,11 47:3
  89:12 113:20    believed 117:3          83:12,16 84:8      81:19 82:7        47:18 48:5
  114:2,7 125:18 benefit 31:20            84:21 88:15        85:14,18 86:13    51:21 52:1,4
  128:18          best 8:13 9:22          89:16,21 90:9      86:16 87:11       52:15 56:19
 backup 17:12       22:17 25:13           90:11,13,17,19     92:8,17,20        57:10,17 58:3
  18:4,8,12,13      36:9 38:8             90:21 91:4,6,7     93:8,13 94:21     58:13,14,20
 backups 17:22    better 63:14            91:12,21 92:9      95:7,20 97:8      59:7 61:9
 Barbara 12:18    beyond 26:12            92:18 93:8,10      97:12 98:12,16    75:22 76:6
  65:8            biological              93:21 94:4         99:1,11,16        77:6 78:19,21
 based 11:5 16:6    108:22 118:7          95:1,9,9,21        103:5,10,17       79:9 80:8,18
  19:15 30:17       129:7                 96:9,16 98:11      104:6,12,15       81:9,13,16
  33:7 34:8 40:7 bit 14:10 17:16          101:20 114:14      107:3,9 108:19    82:18 83:2,6,7
  41:20 44:1,3      42:11 54:19           115:21 116:5,6     109:14 110:1      83:11,15 84:13
  45:18 51:18       73:14 81:4            116:14 126:8       111:16,18         95:15 98:15
  52:4 58:11,14     82:15 87:1            126:14 127:12      112:16,20         101:19 102:2,6
  58:15,22 59:3 Blue 64:1,4               128:6,10           113:3,7 114:4     102:12,21
  59:6 62:21        65:14                 129:14 130:15      114:15 115:2      114:3 120:7,9
  81:18,20 86:2 Boehringer 1:13           131:2,9 134:21     115:14 116:13     120:12,22
  95:17 96:8,11     2:12 6:17            Books 15:11,20      116:20 117:2      121:10,15


                             Henderson Legal Services, Inc.
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      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 39 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                   October 16, 2009
                                         Nashville, TN
                                                                                                  3

  124:3,14          83:7 110:19          CD 15:22 16:7        26:6,20 27:1       98:3,4 104:18
  129:17 130:9      116:22 120:22          20:7 50:10,10      115:9,11 128:4     104:22 105:1,7
  132:16 133:17     121:4                  60:9,21 75:4       128:6              107:15 110:18
  134:17,22       calls 28:17 29:1         79:8,14,22       Chapter 37:15        118:20 124:10
 bromides 47:6      29:16,21 30:3          80:11 83:12      charts 27:2,6,11     124:15 126:3
  49:10 83:21       30:4,5 31:11           84:8 88:11       check 87:8           134:6,14
  132:17            32:1 39:6,10           91:1,5 95:15       89:13 91:10      Cigna's 68:3,9
 bromide-CVS        55:16 77:19            101:20 105:15    checking 126:11      106:8 109:15
  97:11             103:15                 105:16,18        chemical 48:4        109:21 115:17
 Bromide-Nov...   cap 48:14,16             126:12             56:19,21 57:10   CIGNA-0109
  18:19 20:16,22  capital 48:12          CDs 50:13 60:1       57:13 58:8         76:4
  21:17 22:5      capitalization           60:3,6,8,14,15     84:13 107:1,2    circle 89:1,3
  95:16 98:21       50:16,21 51:6          61:15,21 62:2      108:21 118:2,7   circled 87:6
  103:21 116:13     59:1 70:1              73:12,15,17,18     119:7 120:9        88:2 89:17
  116:19 117:2    capitalized              74:14,17           121:1,11,21      circles 87:15
  117:12 118:13     131:22               CD-ROM 16:5          122:8 124:17     circling 89:6
  122:16 125:13   capitals 48:1            75:21 80:6,22      129:6            circumstance
  128:11 130:11   caption 5:10             81:19 84:21      Chicago 2:17         32:13
 bromide-Rox...   Carolyn 1:20             88:15 89:17      chloride 53:10     citation 12:2
  97:2              4:2 5:2 6:3 7:7        95:9,21 96:2,9   choose 64:22       Civil 1:15 5:7
 bromide-Wal...     135:8 136:3            96:12,15 116:1   chose 69:1         claims 7:22 31:6
  98:7            Carpujects               116:5,14 126:4   chosen 63:6          37:20
 brought 132:20     89:11                  126:14 134:21    Cigna 7:14 8:1     clarify 9:5 12:7
 building 71:12   carrier 38:15          CD-ROMs 15:6         10:8 13:2 14:1     69:4 99:10
  105:1,4           104:18 106:8           69:9,14,18         14:3,3,6 15:1      108:5
 bullet 43:2        109:16 110:18          70:9 115:19        15:16 16:4       classification
  44:15             112:11               center 76:10         17:8,21 18:19      13:15 17:8
 B's 112:22       carriers 11:13         certain 7:20         18:22 19:7         18:16 22:11
                    31:21 38:1,2           9:20,21 89:17      20:1 29:12,16      26:6 66:20
         C          38:22 40:10,11         90:13 91:7         30:2 33:15         92:11,19 94:14
 C 6:1              42:7 108:14            119:21             34:21 43:21        95:6 99:6
 cabinet 72:11,13   109:8                certificate 5:10     45:5,21 48:19      104:12 107:17
   74:11          carries 44:16            136:1              50:1,15 52:8       107:18 113:2
 calculate 42:2   case 1:8 6:6 7:21      certify 136:2,12     53:2 55:14         114:3,5,8
 calculation        9:12 13:11           cetera 5:10          57:6 59:11,15      117:5,15 129:9
   43:11 78:1       25:22 44:20,22       chains 97:15         62:9,9,13,15     classifications
   108:17 128:21    107:12 114:4         change 10:5,5        64:20 65:9         19:13 32:16
 call 14:1 29:17    132:15                 61:11 65:19        68:20 71:16,22   classified 10:8
   31:17 32:6     cases 25:21              113:4 114:9        72:17 75:19,20     14:1 15:2
   67:9,14 69:4   categorized            changed 25:6         76:7,12,14,18      20:11 21:8
   104:14 117:6     19:6 57:18             50:6 63:21         77:5,11 78:20      24:22 28:3
 called 7:7 11:19 cause 136:5,15           92:10 114:18       80:5,5,17 81:2     58:16,19 59:3
   18:18 30:10    caused 104:11          changes 23:16        82:16 84:6,7       59:8 86:9,13
   56:18 80:7     caution 25:8             23:18,22 25:3      85:8 86:3 87:5     89:22 93:9


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 40 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                  October 16, 2009
                                         Nashville, TN
                                                                                                 4

   95:17,19 97:6     code 40:19 41:3     complete 70:22    constructing         60:7,14 69:17
   97:8,12 98:8        41:20 90:11,17      120:17            62:8 64:20         69:21
   103:5,20 104:6      91:4,6,13,21      completed 5:16      68:20,21 80:17   copy 15:7,19
   107:8 112:11        93:10 133:20      completely          88:17              16:10 38:3
   112:16,19           134:3               121:5           constructs           45:18 46:8
   120:21 121:14     codes 31:19 32:1    computer 24:5       104:19             50:3,10,18
   122:20 124:3,9      53:14 55:3        concept 120:6     consult 66:15,22     75:11 89:18
   125:8 130:3,12      90:13 91:8        concerning 9:20     67:13              90:22 91:5
 classify 50:1       code's 53:9         concerns 34:22    consulted 55:21      95:1,9,13
   52:20 56:21       collectively        concert 115:18    contact 68:7,22      105:13 129:14
   57:5 58:8 70:3      61:13             concludes 135:7     75:7 117:11      copyrighted
   81:19 95:3        column 47:2,7,8     conference        contacted 75:2       73:9
   98:12,15 99:1       47:19 49:1,13       31:17 39:6,10     117:8            corner 46:22
   103:16 105:20       129:21              55:15 77:19     contained 80:21      77:22
   106:15 128:11     combined 23:3       Confidential        128:20           Corporation
 classifying         come 12:8 17:13       76:11           contend 122:19       1:14
   14:16 18:22         33:21 60:22       confirm 13:18     content 36:15      correct 19:2
   20:3 28:7 34:5      71:20 132:7         38:18           context 18:6         21:3,11 22:12
   34:8,13 35:1      comes 74:3          conflict 51:11    continue 29:9        29:4,8 31:8
   39:22 47:12         98:13 121:4       confusion 103:8     50:6 83:4,9        32:12,22 33:18
   56:5 82:7 85:7      131:1,21          conjunction       Continued 3:1        43:14,15,19
   92:8 93:7           133:15              51:8            continues 47:5       48:1,2,20
   104:10 106:2,9    coming 62:16        connected 77:11   contracts            50:19 51:8
   106:18 109:5      comments 39:7       consider 52:3       105:17 106:12      60:12 62:3
   116:12 118:9      commission            86:16 87:7        107:20             69:20 76:1
   122:15              136:22              92:17,21,22     convenience          78:22 79:2,3,4
 clear 8:9,20        communicatio...       93:12 94:12       60:13              80:18 81:9,19
   58:19 85:21         15:14 25:9          120:1           conventions          83:2 84:3,9,14
   122:19 123:3      companies 2:13      considerations      70:2 118:21        84:18,22 86:19
   123:10 125:12       6:17 120:3          44:4              119:1              88:4 93:22
   125:16            company 19:2        considered 35:4   conversation         95:4,10,21
 clearly 56:20         66:18 67:6,14       49:6 53:3,5       16:11,14 17:19     96:7,9 101:12
   118:13              68:8 69:1           56:16 57:12       19:8 28:13         102:8,9 111:12
 click 80:11           100:12              85:14 94:21       33:9 53:4          112:4,17 114:9
 clicked 132:10      compare 43:21         117:1,13        conversations        114:19 116:14
 CMS 11:5,13,19        51:10 96:14         120:10            17:3,6 103:15      116:15,20,21
   12:19 19:14,16    compendia 63:4      considers 83:1    conveyed 23:6        118:3 121:1,15
   30:15,19 35:14      63:15 64:14,17    consistency       coordinate 30:6      121:18 124:1
   38:1,4,17 39:3      64:21 92:19         107:16            30:8 31:12         124:10 126:15
   40:16 51:1,9        93:1,8            consistently        34:11              127:14 130:4
   63:4 81:20        compendium            34:5,13         coordination       correspondence
   91:9 92:15          62:10,14          construct 105:7     34:3 63:9          17:3,7
   94:20 99:6        competently         constructed       copied 126:12      counsel 6:13
 CMS's 11:6            123:16,22           76:6 115:3      copies 59:20         7:12 11:3 12:3


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 41 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                   October 16, 2009
                                         Nashville, TN
                                                                                                  5

   12:10,12 13:8 database 4:15            5:1,17 6:3,11       105:8 127:19     discrepancy
   15:13 25:10,10 131:1,6                 7:11,12,13 8:5    Dey 3:3 7:3 26:1     77:17
   70:18 71:3    date 6:7 76:7            12:9 26:10        Dey's 83:7         discretion 65:5
   136:13        dated 108:12             135:8 136:3,5     differed 24:21     discuss 18:4
 couple 8:3 16:21 111:8                   136:14,16         difference           31:18 32:3
   52:11 64:1    day 5:3 135:18          described 94:3       100:11             47:11
 course 13:13     136:18                  96:8 111:2        differences 32:3   discussed 48:9
   14:14 21:13   days 52:11              describes 41:4       32:3               55:15 104:13
   27:19 78:16   dealing 26:7            description 53:9   different 22:13    discussing 16:15
   105:15 118:19 deceased 18:2            53:18,20 54:10      22:19 23:21        103:17
   119:4         December 76:8            54:14 56:12         24:16,20 25:7    discussion 33:3
 court 1:1 5:14   108:12 128:3            68:5 90:9,10        25:17,21 36:13     52:21 104:16
   6:6,21 8:8    deciding 128:10          94:6 133:18         36:15 37:5       discussions
 Courthouse 2:6  decision 21:16          designation          39:5 43:13         31:10
   2:7            61:11,12 65:2           49:17,18 73:21      47:6 48:15,16    diskettes 74:1
 cover 90:20,21   86:1 87:3               91:12 101:6         50:11 51:18,19   dispute 77:15
 coverage 31:20   92:11 114:16           desk 66:16           52:5,6 53:22     disregard 92:4
   106:14         115:17 117:5            71:12 72:11,13      54:11,19 57:16   distinguishing
 created 68:1     117:15 124:13          destroyed 74:22      59:11 61:12        66:11
 creating 67:12  decisions 129:9         detail 15:11         67:18 68:10      distribute 76:13
 criteria 42:2   declaration 4:10        detailed 80:7,15     81:16 83:22        76:22
   45:20,20 46:9  9:12,18 10:4            81:3 89:15          84:17,18 85:13   distribution
   47:12,15 48:9  10:10,21 13:14          133:8               86:14,15 87:1      76:13
   48:11,19 49:6  14:15 17:2             details 11:11        92:16 94:20      District 1:1,2
   49:21 50:4     20:15,20 22:14         determination        95:16 98:14        6:6,6,19
   56:6 57:15     24:4 25:16              11:16 20:2,10       99:20 103:15     DME 20:5 52:9
   58:6,21 59:2   26:8,19,21             determinations       103:18 105:2     DMERC 7:14
   66:11 68:6     27:20 125:19            53:7                106:12,14,18       8:2 14:4 17:4
   69:22 70:3     125:21,22              determine 44:7       107:5,20,21,21     28:6 29:12,18
   106:2,14,18   defendants 3:3           44:17 50:17,22      109:22 117:9       31:3 42:3
   109:3          7:4,21                  55:2,7,22           117:19,22          52:11 62:9
 CRR 136:21      defined 41:6             65:15 69:10         119:22 121:5       65:2 72:1
 current 15:21    108:19 118:5            107:2 123:14        132:21             77:11 104:5
   16:2 19:19     129:4                  determined         differentiation      106:10 107:16
   74:6 75:6     definitely 89:21         60:5 62:20          21:22              112:20 124:2
 currently 16:4  department 2:3           114:14            differently 35:2   DMERCs 28:2
   18:6 71:11     12:10 75:3             determining          95:13 106:9,13     28:15,17 29:22
                 depended 95:8            11:14 45:6        dilutant 52:19       30:16,19 31:5
        D        depending                55:12 56:7,10     direct 129:12        31:16,20 32:7
 D 4:1 6:1        113:2                   120:11            director 55:20       32:21 33:10,16
 dash 84:14      DEPONENT                develop 28:20      directors 53:7       34:4,6,12,19
  85:17 98:14,21  135:12                  31:21               53:21 55:1,6       34:22 37:2,5,8
  121:18         deposed 52:10           developed 30:9     discrepancies        39:5,13,17,21
 data 9:21       deposition 1:19         developing           28:19              40:3 41:12


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 42 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                   October 16, 2009
                                         Nashville, TN
                                                                                                  6

  55:20 60:5         dosage 43:5          92:8,10,14,16    E 4:1 6:1,1 7:15    equivalent
  61:13 62:17,18     dose 89:2,7,8        92:20 93:3,8       127:6 134:11        91:14
  63:7,10,19         doubt 89:14          93:10,11,12      earlier 13:3        Eric 2:14 6:15
  77:12,17,22         102:6               94:14 95:20        22:17 24:3          7:19
  78:3 103:16        Douglas 12:19        97:7 98:6,8,10     25:18 26:21       ERIC.GORT...
  106:3 108:2         65:8                98:16,22 99:10     35:13 72:16         2:19
  115:18,20          doxorubicin          99:19,21 106:7     73:14 74:19       especially 53:15
  122:13 123:21       4:14 110:19         107:17,18,22       85:22 90:3        ESQ 2:4,14 3:4
 DMERC-A              111:4 112:7,12      108:21 110:19      91:8 94:22        essence 47:17
  29:18 103:20       draft 23:4 25:18     112:12,15,19       125:19 129:20     establish 37:3
  104:9 122:19        26:21               113:3 118:7      easier 59:17          78:15 127:21
  123:2,13           drafting 25:11       120:7,11,21        60:6                127:21
 document 1:10       drafts 22:13,20      121:4,9 122:2    effect 50:5         established 31:3
  9:13,16,17          23:1 24:9 25:7      122:20 129:7     either 8:7 20:3       31:18 32:7,10
  11:20 14:12         25:19,20            130:9 132:2        34:5 41:13          32:20
  23:7,10,10,14      draw 46:21           133:22             58:21,22 75:11    establishes
  23:15,16,17,19      108:16             drugs 10:8,9        124:6 136:13        40:20
  36:1,3,5,8,11      drop-down 91:1       14:1 18:5,5,16   electronic 75:11    establishing
  36:14,18 37:7      drug 4:12 11:14      28:3,7 32:15     electronically        109:19
  37:11 39:12,16      18:18,22 19:6       33:4 34:5,13       73:7              estimate 38:8
  40:3 42:6,13        19:6 28:16          35:1 39:21,22    Elisabeth 5:13      et 1:13,14 5:10
  47:1,14 48:8        30:11 31:19         40:21 41:5,13      136:21            evaluate 51:12
  48:10 66:8,10       35:17 36:2,9        41:19 42:4       Ellis 2:15 6:16       114:16
  68:1,2,2,18         36:16 37:16         47:13 53:6,15    employee 98:5       event 17:13 18:1
  72:4 110:16,20      38:21 39:8,12       53:16 65:15      encompass 32:6        88:9
  111:2,8             39:16,19 42:22      66:21 69:5,10    engaged 21:17       events 10:1
 documentation        43:4 44:17,18       70:3 77:13       enter 131:2         evolved 37:12
  72:2 73:3           44:19,22 45:9       86:2 97:19         132:10 134:17     ex 1:11
  88:11               47:13 48:9,11       101:5,13         entering 134:20     exact 122:20,20
 documents 4:12       49:22 51:5          104:19 106:9     entire 48:1         exactly 26:3
  11:1,2,4,12         52:13,14,18,20      106:13,18          103:13,22           53:13 63:3
  13:2,12 14:10       53:8,11,17,22       107:8 109:5,20     124:9               73:21 86:8
  14:17,22 15:3       54:4,7,9,20         109:21 115:5,6   entirely 54:11        91:18
  21:14 35:17         55:8,8,13,22        115:9 118:21       92:5              EXAMINATI...
  38:21 39:20         56:10,13,13,14      119:5,15         entitled 36:1,8       4:3
  70:17,20 71:1       56:18 57:2,11       121:14 122:15      136:4             examine 33:15
  71:2,6,16,21        63:19 66:8,15       132:21           entity 100:10       example 32:6
  72:17,21 75:10      66:17 67:5,6       Drye 3:5 7:3      entries 44:21         54:6 56:18
  78:11,13 106:7      67:14 68:7         dual 17:22          45:3 84:17          107:22 127:20
 doing 21:16          69:1,22 71:7       duly 7:8 136:4      111:16,17         examples 54:15
  33:19 40:4          72:2 78:6 82:7     duplicate 76:12   entry 47:2,18       exceptions
  53:6 123:21         83:2 85:13,13      duties 123:15       48:1,4 49:2,4,9     19:15 52:8
 DOJ 15:15 25:9       86:16 87:4                             49:11 61:8        excerpt 4:11
  70:18               89:22 91:14                 E          81:5                41:3 42:6


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 43 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                     October 16, 2009
                                         Nashville, TN
                                                                                                    7

   46:19 61:4          66:21 89:8           102:15 103:11       81:5 87:5          123:8,18 125:4
 excerpted             92:9 102:11,18       116:9,16            114:13 115:1       125:14
   129:13              110:6 117:11         117:16 118:15       127:10 131:8     formal 78:12
 exchanged 39:8        123:2                118:22 119:16    FirstDataBank       formalities 5:9
 exclude 90:14       factor 60:13           120:15 122:5        64:4 65:14       format 42:8,10
 excluded 91:9         120:10               123:5,8,18          93:2,4,9           50:11 59:1
 exclusively         fair 22:2 39:15        125:4,14         fit 134:3           formats 36:13
   62:13 99:20         48:7 77:3 86:3       126:21 127:2,5   five-by-five 89:2     53:16 59:11
   101:14              88:13                127:7 130:19     flavor 31:10          61:12
 Excuse 10:14        fall 41:19 54:21       131:13 134:9     flip 70:19 83:4     formatted 15:21
 exerting 40:19        118:13               134:15 135:5     flipping 60:11      forms 43:3
 exhibit 4:10,11     falls 122:2         fault 128:17        floors 105:2        forward 62:17
   4:12,13,14,15     familiar 8:4        federal 2:6 5:7     Florida 1:12          63:7
   4:16 9:8,11         30:12 35:15,19       40:20 41:3       focus 34:17         four 29:22 31:5
   35:22 36:7          36:18 45:4        fee 31:2 32:2,21    follow 80:4           32:7 34:4,12
   46:16,19 61:5       57:2 61:8 64:3       33:11 34:18         119:9              34:18 37:8
   70:10,11,13         68:8 80:20           35:3 41:17,18    followed 22:4         39:13,17,20
   75:18 108:9         97:18 98:1           44:1 61:19          39:17 40:6         60:5,7 61:13
   110:13,14           101:5,8 104:17       77:5,16 113:4       94:20              62:18,19 63:10
   128:18 129:11       118:19 120:3      feedback 39:4       following 44:21       77:22
   130:18 131:12     far 24:12 63:12     feel 9:5 24:12        66:10             Fourth 5:5
   131:14 133:11       63:12,15 67:2        25:15            follows 7:9         frame 16:17
   134:5,14            78:17 82:13       fees 30:8 31:22     follow-up 98:21       28:22 44:13
 EXHIBITS 4:8          92:3 94:19           35:7 127:19,22     127:9 134:13      free 9:5 25:15
 exist 43:4,4          105:8 106:1       field 82:1,4,9,19   foregoing 136:3     front 71:12
 expect 33:9           120:2                84:1 85:3 90:1   forget 27:18          72:11,13 90:21
 expired 74:11       fashion 37:8           92:1,1 131:20    form 5:11 12:5      full 98:22
 expires 136:22      faster 60:7         fields 90:5,7         12:11 21:10       further 35:9
 explain 9:15        Fauci 2:4 4:6       figure 91:5           22:6 23:21          42:11 126:19
   12:16 15:10         6:18,18 7:1       file 115:4            29:20 31:13         134:9 135:3,12
   17:16 40:12         12:5 15:13        files 88:20           33:1 38:9 40:1      136:12
   45:20 51:15         21:10 22:6,16     fill 18:1             42:13 50:8,20
   53:15 59:14         24:10,17 25:8     final 25:17           58:10 59:5               G
   60:2 71:5           26:4,15 28:8        26:21               62:4 68:11        G 6:1
   85:10 88:6          29:20 31:13       find 12:3 28:19       70:5 73:1 77:8    gen 106:22
   127:16 130:6        33:1 38:9 40:1      53:19 54:5          86:4,11 93:15     general 21:4
   133:6               50:8,20 58:10       68:15 91:2          95:11,22 96:10      28:8,9,10
 explanation           59:5 62:4         fine 15:17            97:4 98:18          36:17 61:22
   122:18,22           68:11 70:5          113:13              99:3 100:3,16     generally 9:15
 extent 26:11          73:1 77:8 86:4    finish 56:9           102:15 103:11       19:11,12 21:9
 e-mail 23:7 39:9      86:11 93:15       first 7:8 8:6         116:9,16            31:14 44:21
                       95:11,22 96:10       12:20,22 36:19     117:16 118:15       59:14 68:8
         F             97:4 98:18           40:18 42:12        118:22 119:16       71:2 126:3
 fact 13:9 54:8        99:3 100:3,16        60:20,21 73:22     120:15 122:5        128:5


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 44 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                             October 16, 2009
                                         Nashville, TN
                                                                                            8

 generate 134:2        121:1,10,21     41:20 44:8        GPO 101:15      head 8:8,13
 generated 88:7        122:8,16,21     46:11 62:16       grading 55:11     14:13 27:14,18
   134:17              124:4,9,15,17   63:7 65:22        guess 38:11     heading 27:7
 generic 10:8          128:12 129:6    66:7 70:9         guidance 38:1     42:21 48:12
   11:17 13:15,20      133:17          82:16 105:12      guide 45:10     heard 30:13
   20:3 21:2,8       generics 14:16    108:5,7 113:17    guidelines 51:1 hearing 5:12
   34:6 35:4           15:2 17:9       114:2 117:7       guides 45:9     help 33:22 46:1
   41:13,14 43:3       20:12 24:22     130:14 133:21                       65:15 67:17
   43:17,22 44:17      28:7 32:16      135:9                    H          108:5
   44:20 45:2          34:13,16 35:1 Goldline 26:9       halfway 47:2,8  helpful 17:19
   48:4,13,15,17       41:7,19,21      49:11             hand 9:10 35:21 helping 55:7
   50:17 51:7,22       43:9 44:9 45:3 Good 7:17,18        36:6 70:9        69:10 105:11
   52:5,6,13,21        45:6 47:12     Gortner 2:14        108:6 136:18   helps 50:22
   52:22 53:18         50:2 53:5 59:3  4:5,7 6:15,15     handed 46:18    Helton 1:20 4:2
   54:19,20,21         66:12,17,21,22  7:10,16,19 9:9    handle 11:14      5:2 6:4 7:7,17
   55:8,13,22          67:14 102:14    12:6 16:1          19:15            25:15 26:5
   56:5,10,14,19       103:17 105:20   21:12 22:8,21     handled 13:19     36:1 46:18
   56:20 57:10,13      106:3 107:14    24:8,15,18         13:19            66:7 108:11
   58:8,9,16,17        109:5 110:1     25:14 26:17       happen 39:1       110:20 114:2
   58:21 59:2,8        121:15 130:4    28:9,11 30:1      happened 17:14    127:8 130:20
   65:15 66:15       getting 39:4      32:4 33:2          21:4 22:22       131:15 135:6,8
   67:7 68:6,14        105:18          38:12 40:8         23:13 114:12     136:3
   69:5 70:4 78:7    give 8:6 31:10    46:5,17 50:12      132:9,19       hereunto 136:17
   78:20 81:9,12       54:6,11,15      51:2 58:18        happens 18:2    historical 62:22
   82:2,3,9,19       given 11:10 98:4  59:9 62:7         happy 9:2,6     hit 132:10,18
   83:2,17 84:1,2      119:6           65:18 66:6        hard 15:7,19      133:5
   84:12,22 85:3     gives 11:13       68:16 70:7,12      38:3 45:18     hold 72:1,4
   85:14,18 86:15      66:18           70:15 73:11        46:8 50:3,9,18 honestly 23:2
   89:22 90:10       giving 19:9,11    77:9 86:6,17       59:20 60:7,14    27:9 82:13
   91:14,22 92:10    go 8:3 12:3,13    93:19 95:18        69:17,21 75:11   89:4,13 91:16
   92:17,20 93:3       24:12 25:15     96:6,13 97:5       89:18 90:22      100:4 103:12
   93:9,11,12          28:6,17 32:1    98:19 99:7         91:5 95:1,9,13 hour 46:6
   94:18 95:4,7        43:1 49:8 60:8  100:6,18           105:13 129:13 Hydro 4:14
   98:22 99:11,19      82:13 88:10     102:17 103:19     HCFA 4:13       hydrochloride
   99:20 102:7,11      89:12 92:3      108:10 110:15      11:19 42:18      49:5 52:15
   103:5,9,22          94:19 98:3      113:12 114:1       54:10 56:3       53:22 54:17
   104:6,10 107:1      108:7,11 114:7  116:10,17          58:6 59:2        110:19 111:4
   107:2,9 108:21      125:18 129:11   117:20 118:18      63:18 72:18    Hydrous 47:18
   112:4,6,12,20       133:19 134:14   119:3 120:5,18     95:3 99:16       51:21 52:4
   113:3,8 116:20      134:18          122:6 123:6,11     106:6 108:3,18 hypothetical
   117:2,4,14        going 8:17 9:10   123:19 125:5       124:16 125:11    99:14
   118:2,6,21          16:12 18:17     125:17 126:19     HCL 111:4       hypothetically
   119:7,15 120:7      19:12 29:3,14   129:19 134:12     HCPCS 53:18       93:6
   120:8,9,21          35:21 36:6      135:3              79:18


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 45 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                   October 16, 2009
                                         Nashville, TN
                                                                                                  9

          I            77:4,20 78:6        91:8 92:15         52:1,4,15          2:10
 ibuprofen 97:21       80:7,13,14,15       94:21 106:11       56:19 57:10,17   job 123:15,22
 idea 36:16            80:16,21 81:3       106:16 107:4,6     58:3,13,14,20    John 2:6
 ideas 39:7            85:6,11 89:16       107:22 109:18      59:7 61:9        Joseph 2:6
 identical 102:19      92:4,20 93:21       110:4 112:22       75:22 76:6       juncture 24:16
 identified 131:6      94:9,13 99:9        117:7,18 119:9     77:6 78:19,21    Justice 2:3
 identify 6:13         115:19 117:8        119:12,20          79:9 80:8,18       12:11
   42:22 87:18         125:10 126:4      instructs 12:12      81:9,12,16       J-code 31:4,7
 Illinois 2:17         132:3 133:15      integrated           82:17 83:1,6,7     32:11 79:18
 immediately         informed              38:22              83:11,15,21
                       117:13 119:13     intended 39:17       84:13 95:14,15           K
   44:19 45:1
 impact 113:9        Ingelheim 1:14      interact 105:6       97:2,11 98:7     keep 24:3
 implemented           2:12 6:17           105:18,19          98:15,20         Kelley 3:5 7:3
   45:21 86:20       inhalation 53:16    interaction          101:19 102:2,6   kept 73:16,17
 implementing          53:16 54:2          105:10             102:12,21          76:18 88:20
   119:12            initial 13:7 20:2   interactions         103:21 114:3     Keys 1:13
 importing 115:5       72:16 114:5         123:12             116:12,19        kind 36:14 46:7
 include 134:22      initially 62:15     interested           117:1,11           81:16
 included 43:10        105:12              136:15             118:13 120:7,9   Kirkland 2:15
   72:18,22 112:6    input 37:4,9        intermediaries       120:12,22          6:16
 Inderal 49:3          119:17              108:13             121:9,15         knew 63:12,15
 INDEX 4:3,8         instance 23:8       internal 65:2        122:15 124:3       67:12,16 81:11
 indicate 32:2         32:8 52:16,19     internally 76:18     124:14 125:12      101:17
   112:10              55:11 65:16       Internet 16:6        128:11 129:17    know 7:19 8:2,4
 indicated 93:11       69:14 77:1          37:14,21 38:3      130:9,11           8:17 9:2 17:19
 indicator 82:19       78:8,17 80:11       40:14              131:21 132:6       19:18,19 22:22
   94:18               93:2 94:7         interpret 73:7       132:10,16,17       23:2 24:6,7
 individual 17:20      97:20,21 98:8     interpretation       133:17 134:17      26:1,15 30:16
   74:1                103:3,8 105:21      122:1              134:20,22          38:5 39:1
 individually          116:1,4,6         interpreted 73:3   issue 10:7 12:8      47:15 55:19
   51:12               119:8             involved 18:15       13:15 14:15        59:16 62:6,15
 individuals 17:7    instances 12:15       18:21 27:12        24:22 26:9         63:3,5,16 64:7
   77:10,11            52:17               55:7,11,12         108:5              64:10,12 65:7
 industry 1:4 6:4    instructing         involves 7:21      issues 7:22 25:4     67:3 68:1
   118:20 119:14       30:19             involving 26:1       25:6,11 26:20      71:19 73:20
   119:18            instruction         IOM 40:11          italics 40:22        77:12,18 78:10
 information           22:16 86:14       ipratropium                             78:17 79:1
                       110:7,9             4:16 18:18              J             89:4,10,13
   9:20 11:10
   12:20 13:1        instructions          19:22 20:16,22   J 2:4                90:17 91:12,16
   18:3 19:5,9,10      11:6,13,16          21:17 22:5       JAMES 2:4            91:18 100:11
   37:13 39:2          19:14 30:15         31:4 32:5,9      January 60:22        100:19 101:3
   58:12 71:8          34:8 35:6,11        33:5,11,16         127:22             101:10,13
   74:15 75:4,22       37:16 40:5,6,9      47:3,6,18 48:5   Jeff 6:18 24:8       103:16 106:1,4
                       68:3 81:21          49:10 51:21      jeff.fauci@us...     107:6,7 109:10


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 46 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                 October 16, 2009
                                          Nashville, TN
                                                                                             10

  109:17 110:3       let's 14:11 46:6       71:11,18 105:3     106:21 112:14 manufacturer
  112:18 116:4          56:17 65:18       location 73:16       115:22 116:4   58:13 78:16
  116:11,18             68:17 70:8          73:18              119:19,21      82:18 83:15
  119:22 123:21         75:17 76:3        long 18:11 32:20     128:7 132:3    101:18,21
  124:2 125:6,7         82:14,14 98:6       35:2 114:18      looks 80:3       102:1 116:3
  125:8 128:9,14        108:3 110:12        115:13             111:11 127:3  manufacturers
 knowing 115:21         118:4 120:19      longer 74:12,15    loop 110:5       47:6 132:21
 known 93:7             127:5               74:18 75:6       Lorenzo 3:4 7:2  133:1,2,4,16
  104:9              license 74:8         look 10:3,7,18       7:2 127:1     Marisa 3:4 7:1,2
 KO 77:21            limit 26:9             13:16 16:8,17    lower 41:8,15    126:21
 KPs 77:21           limited 51:6           25:16 28:1         43:9,10,17,18 mark 70:10
                        76:13               33:17 36:3         44:2,20,22     108:7 110:12
         L           line 91:22             38:19 40:17        58:1 76:4,7   marked 9:8,11
 label 58:3,20       lines 91:22            42:8,9 44:17       77:21,22 110:2 35:22,22 36:7
   76:5 80:5         list 80:15 130:8       47:1,17 49:9       113:8 132:15   46:16,19 49:2
   83:21 102:5,20       132:20,22           49:10 62:2,6     lowercase 48:4   61:5 70:11,13
   102:20 107:8         133:2 134:2,22      62:10 63:19        48:13,16 49:4  108:6,9 110:14
   108:20 118:6      listed 20:10 33:4      64:21 65:3,6       51:7 131:22    125:19 130:18
   129:5                49:16 58:12         66:12 70:3,8     lowest 41:21     131:12
 labeled 42:21          59:7 83:22          75:17 76:3         44:10         marketed
   79:6 82:2            84:8,12 95:13       78:18 79:5                        108:20 118:5
   124:3,14 125:2       95:17 96:12,15      81:2 88:10             M          129:5
 Laboratories           96:16 97:2,10       90:1,5,12 91:3   M 7:15 127:6    markings 87:18
   1:21 2:12 5:3        98:7,11 101:19      91:21 106:13      134:11         marks 65:21
   6:16 7:20            129:20 130:11       108:3 110:12     machine 74:2     66:4 87:19
 language 128:20     listing 47:5           110:22 111:14    mainframe       Massachusetts
   129:8                82:17 90:19,20      115:18 128:1      73:20           1:2 2:8 6:6,20
 lapse 8:12             112:3               128:18 134:7     mainframes      MASTER 1:8
 large 97:14         listings 79:22       looked 11:7 15:4    73:18 74:9     match 54:10
 LaSalle 2:16           83:5                15:11,19,21      maintain 73:20 materials 59:15
 late 59:16,19       lists 79:8 97:19       16:12,20 47:13    74:6           matter 92:18
 lead 85:17 98:15       133:14,15           65:9,10,14       maintained       98:13
   125:10            litigation 1:5 6:5     66:9 91:17,20     73:19 74:2,10 MDL1456 6:7
 learning 19:17         13:4 14:2           96:1 105:11       75:6,7         mean 15:5 16:2
 leaving 115:6          72:18 75:13         107:11 128:9     making 20:10     23:2 29:6 31:1
 led 95:3 125:1      little 14:10           131:9 133:9       34:17 129:9     34:9 37:22
 left-hand 46:22        17:16 42:11       looking 10:5,20    Malone 5:5 6:12  38:14 44:5
   47:1,7 77:22         54:19 73:14         20:7,9,9 26:22   manual 37:20     55:14 67:21
 legal 15:16            81:4 82:15          35:6 48:8,19      38:2 39:1       73:8 91:17
   25:10,11             87:1 117:9          48:22 51:16       40:10,11,14     100:10,11
 length 128:20       loaded 73:18           56:12 57:16,20    42:7,7 68:9,13  109:10 113:3
 lesser 41:6,20         74:1,9 105:18       79:12 85:12      manuals 37:15    115:1 117:22
 letters 44:20       locate 75:3            87:12 89:12,15    37:22 38:2,4    120:17,20
 letting 24:12       located 71:5,10        90:8 95:1,8,20    38:13          Meaning 36:21


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 47 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                               October 16, 2009
                                         Nashville, TN
                                                                                           11

 means 66:16          49:12,17,18     11:17 18:9          119:1 120:3       87:6,14 92:15
 meant 101:11         58:1 108:17     20:9 30:11,13      Nashville 5:5,6    95:14 97:3
 median 41:7,14      Miller 5:14      43:8 44:18,19       6:12 97:15        100:15 101:1,4
  41:21 43:9,10       136:21          44:21,22 45:1      nature 17:19       101:5,10
  43:17,22 44:9      milligram 32:8   45:2,2 48:4,13      31:9 33:8         102:13,20
  110:1 113:8        mind 15:18       48:15,15,17        NDC 49:18          107:9,17,19
 Medicaid 64:10       102:7 103:8     51:7,22 52:5,6      60:16 84:17       111:5 112:7,12
 medical 53:7,21     mine 67:18,21    52:12,14,18        NDCs 49:15         114:3 115:2
  55:1,6,20           87:22 88:1      53:17 54:9,12       50:1 57:21,22     118:10 120:13
 Medicare 7:22       minutes 127:4    54:19,20,22         58:1,2,9,20       121:18 126:2
  35:16 36:2,8       misclassify      56:14,14,19,20      80:8 83:10       Novation's
  37:20 38:1,2        125:2           56:21 57:10,13      84:20 85:4        101:14
  38:15,22 40:10     missing 44:6     58:7,8,16 59:2      130:10           November
  50:5 66:7          mlorenzo@ke...   81:6,9,12,16       need 9:1 33:20     128:3
  106:7,8 109:8       3:9             83:14 84:12,13      113:15 117:6     number 6:7
  110:18             Moakley 2:6      85:12,13,14,15     needed 9:20        37:17 42:13,13
 Medispan 63:22      moment 50:14     85:18,19 86:13      67:17 87:7        60:16 66:18
  64:13 65:14         59:10 63:17     86:15,16 87:11      90:6 91:10        135:8
 medium 20:8          65:13 66:9      90:9,10 92:14       128:4            nutshell 41:11
 meet 48:10           94:22 111:2     92:16,17,17        never 35:4
  133:17             monitor 6:8      94:3,20 95:17       64:15 65:13             O
 meetings 39:6       month 127:18     97:9,13,20          99:4 102:10      O 6:1 7:15 127:6
 meets 53:8          monthly 15:20    98:12 99:20         105:19             134:11
  99:15               16:16 20:7      100:2,8,15         new 3:7,7 18:7    oaths 136:9
 members              59:20 69:15,16  101:1 104:15        19:14 33:21      object 12:5,11
  101:15              126:8,16        106:22 107:1,2      115:5,11           12:11 21:10
 memoranda            127:13,17       108:19,20,21       nodded 14:13        22:6 26:4,11
  11:20 12:2,4        128:10          109:14 112:12      nodding 8:8,12      33:1 38:9 40:1
  13:7 14:19         months 18:14     112:15 114:9       nods 27:18          50:8 58:10
  21:6 128:19         18:14           114:19 115:13      non-DMERC           59:5 62:4
 memorandum          morning 7:17     117:18,21           104:19             68:11 70:5
  108:13 109:7        7:18            118:1,2,4,6,7      normal 78:16        73:1 77:8 86:4
  109:13             move 32:10       118:12 119:6,7      118:20             86:11 93:15
 mention 126:7       multiple 25:19   120:9 121:1,11     North 2:16 5:6      95:11,22 96:10
 mentioned            41:4            121:22,22          Notary 5:14         97:4 99:3
  52:11 126:1        multiuser 74:8   122:8,21            135:22 136:8       100:3,16
 mentions 42:14       105:16          124:17 129:4,5     notice 5:9          102:15 103:11
 met 53:19                            129:6 130:8,13     noticed 7:11        116:9,16
 methodology                N        named 102:1         Novaplus 19:6       117:16 118:15
  43:13 45:5,13      N 4:1 6:1 7:15   122:2 136:6,15      19:22 21:19,22     118:22 119:16
  45:15 109:20        7:15 82:8      names 10:19          22:11 26:6         120:15 122:5
  109:22 110:3        127:6,6 131:22  51:19 95:16         58:3,9,20          123:5,8,18
 Mid 60:18            134:11,11       119:14,22           78:21 84:8,14      125:4,14
 middle 47:8,19      name 7:19 11:17 naming 118:20        85:7,17 86:9     Objection 29:20


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 48 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                   October 16, 2009
                                         Nashville, TN
                                                                                               12

   31:13 50:20         100:7 105:14      P 6:1               106:8 107:18        44:12,13 79:16
   98:18               107:15 111:1      package 84:1,18     108:1 109:15      perform 123:15
 objections 5:11       112:2 113:11        94:10 102:19      109:20,21         period 19:20,21
 observed 46:13        113:15 114:12     packaging           110:18 112:11       68:21 104:1
   66:2 113:19         115:13 119:11       115:10            112:21,22           110:9 114:6
 obtain 21:14          124:12,13         page 4:4,9 10:20   particular 10:10     123:14 126:1,9
 obviously 81:15       126:13 132:11       13:1 27:3,7       12:2 13:9         person 17:11,12
 occurred 29:1         132:18 133:5        40:18 42:12,20    18:17 19:5,21       17:22 18:3
   33:9 38:6           134:20              43:2 44:16        20:16 21:1          20:1,6 28:14
 October 1:22        old 15:20 18:7        46:22 47:8        27:3 28:14          73:21
   5:3 6:7 60:21       19:12,18 72:1       49:1,2,9,13       31:4 32:15        personnel 38:16
   79:7 83:12          115:8               58:1 63:8         33:4 77:13          76:14
   84:6 127:20,21    older 75:8            66:10,14 70:21    78:6,7 79:11      person's 18:9
   136:18            oldest 17:1           76:3,5 79:5       79:13,20 86:9     pertinent 57:6
 office 6:19 9:19    Once 44:7             83:7,11,16,22     87:4,15 89:5        72:4 81:13
   71:15               131:19              84:5 108:17       96:18 99:5          94:13
 offices 5:4         ones 16:21            125:20 129:12     115:21 118:14     pharmaceutical
 Oh 20:21 78:19        65:10 74:7,7        134:5,15,16       125:21 132:12       1:4 6:4 119:14
 okay 8:9,10,21        90:15 115:12      pages 16:13         132:13 135:1        119:18 120:2
   8:22 9:3,7          128:7 133:13        80:4 83:5        parties 136:14     pharmacy 97:15
   10:16,20 11:18    open 23:14,20         84:17 86:10      pay 41:12,17         98:2
   12:22 13:6          131:2               87:12 101:19      43:16 61:18       phone 31:11
   14:5,8,12 15:9    opening 115:4         129:13 136:10     62:2 92:2         phrase 76:11
   16:4,8 17:17      operating 106:2     paid 44:12          103:1               117:22
   18:15 20:19       operative 29:18       109:22           paying 31:5        physical 16:14
   22:2 23:11        operator 6:10       Palmetto 29:17     payment 31:2       Physicians
   24:15,19 27:6     option 67:12          52:10 104:4       33:11 34:18         66:16
   27:17 36:21         68:7              paper 38:3          35:3 40:21        pick 128:3
   40:15 45:15       options 67:16,19      126:14            41:4,9 43:20      piece 44:6 125:9
   46:9,10 47:14       68:15,22          paragraph 43:3      44:1 77:6         place 5:5 6:11
   49:8 50:4,13      Orange 90:9,11        43:8 66:13        109:20 113:4        21:20 45:16
   51:14 52:3          90:13,17 91:4       125:22 126:5     payments 33:5        136:6
   55:4 56:17          91:6,7,12,20        128:21 129:3     PDF 23:10,11       placed 77:13
   58:3,4 59:21        93:10             Paragraphs          23:19,20,21,21      120:8
   65:12,19,20       order 72:1            26:7              23:22             play 60:22
   68:17 72:12       Originally          parens 49:12       PDFs 24:4          please 6:13,22
   74:5,21 75:10       12:16               112:7            PDR 66:16,22         7:6 8:18 9:2
   78:12 79:11,20    outcome 136:15      Park 3:6            67:14               46:3
   81:2,15 82:14     outlined 39:20      part 14:5 30:10    pen 87:19          plus 104:1
   83:20 84:11       outlines 42:1         40:21 41:13      pending 26:16        120:12
   85:16 87:9        outside 78:2          42:3,3 44:10      26:18             point 21:13
   89:14,20 91:11      115:20              54:18 77:10      people 33:21         27:10 29:11
   91:20 92:7                              104:18,22         38:15 73:20         33:3,14 43:2
   94:12 99:8                P             105:1,7 106:1    percent 44:11        44:15 60:17


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 49 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                 October 16, 2009
                                         Nashville, TN
                                                                                             13

  61:3 66:20          35:17 36:2,2,9      51:5 66:8         114:8,13          73:6 82:1
  69:8 70:21          36:17 37:6,16       67:17,20 68:19    116:19 117:2     providers 76:22
  75:1 90:3           38:21 39:8,12       70:1 88:6,8       117:14 118:1,4   public 5:14
  96:14 99:5,8        39:16,19,21         106:7             118:5,10 123:7    38:14,18 61:22
  134:1 135:1         45:9 47:14         procedures 37:4    124:4,8 125:2     135:22 136:8
 points 13:3          48:10 49:22         39:16             129:4,5 130:10   publication
 policy 50:6 86:2     51:5 62:9          Proceedings        133:15            37:15,17,19
  86:19,19            63:14,15,19         135:11           production 13:7   publicly 77:4
 popped 131:8         66:8 70:1 71:7     process 13:4       72:22             78:18
 portion 77:13        72:2 75:12          18:22 19:18,18   products 20:11    publish 76:21
  111:18 112:4,6      106:7 111:3,12      19:19 21:9,16     53:19 54:3,21    publishing
 position 120:14      115:19,22           21:20 22:1,3,4    55:2 79:8,10      62:10 64:14
 possible 8:18        116:6               38:20 39:14,20    81:12 84:8,22    pull 54:3 133:4
  25:21 106:17       principally          55:7,12,20        86:9 102:1,14     133:21
 possibly 39:9        115:18              104:18 114:20     103:21,22        pulled 71:8,12
  107:21             print 23:14,15       119:11 133:20     105:20 109:15     72:2,8,10
 preceded 85:17       90:2 128:6,8        134:2             111:17 112:3      132:17
 precedes 88:18       131:4              processed 8:1      119:22 129:20    purpose 30:5
 precise 68:9,13     printed 15:7         31:19             130:2,3,4         39:12 127:17
 prepare 20:20        16:9,9 46:20       processing         133:16 134:3     purposes 5:7
 preparing 9:17       48:20 60:4          37:20             134:22           put 9:22 19:22
  13:14 14:14         75:21 80:22        produce 24:14     Professional       21:1 77:18
  17:2 20:14          88:3,9,16          produced 13:3      35:17 36:8        78:6,19,20
  27:19 119:4         96:16 115:22        24:9 72:17       program 11:19      87:5 101:8
 presence 85:16       116:5               73:14 74:7        12:2,4 13:6       114:15 116:19
 Present 3:11        printout 57:21       75:13 78:13       14:18 21:6        121:5 124:14
 previous 74:4        59:4 75:18         producing          108:13 109:7      131:11
 previously 18:5      79:7,13 83:8        24:11             109:13 127:13
  31:18 35:22         84:6 87:13,16      product 20:3,17    128:19 130:16           Q
  36:7 70:13          88:18 90:4          21:2,7,18         132:2            quarter 31:15
  108:6               95:2 134:7          22:11,14 50:16   programs 64:10     31:16 60:20
 price 1:5 6:5       printouts 80:6       50:22 58:7       Project 30:11      104:5 111:12
  41:6,7              88:7,14 89:16       60:10 80:7,14    propanolol 49:5    114:8,17,22,22
 priced 18:5,6       prints 133:10        80:15 81:3,5     property 76:12     115:3 126:1,2
  28:3               prior 8:5 62:16      83:14,17 84:2    proprietary       quarterly 28:17
 pricer 107:22       probably 96:22       84:12 85:8        100:2,5 101:1     29:1,15,15
 prices 10:5          114:12              86:15 89:16      protecta-pack      33:8 42:2
  69:10              procedure 5:8        90:8 94:3 95:4    89:3,7,9,10       59:22 60:3,6,8
 pricing 4:12         35:17 36:2,9        95:7 96:8,19     provide 19:4       60:9 61:18
  10:6 11:14,15       36:10,17 38:21      96:20 97:1,10     37:9 73:10        126:3 127:18
  12:17 18:7,7        39:7,8,12,16        102:7,11,13      provided 11:2,4   question 8:17,19
  19:13,14 28:16      39:19 42:1          103:4,9 104:6     11:5,11 12:1      8:20 9:4,6
  28:21 30:6,11       45:9 47:14          104:10 106:22     12:19 13:13       10:17 12:1,12
  30:22 31:1,16       48:10 49:22         108:19,19         39:2 71:3 73:5    12:13,14 14:21


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 50 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                   October 16, 2009
                                         Nashville, TN
                                                                                               14

  15:17 22:17          122:1               16:18 20:7,8       91:13 111:5      remember 64:2
  25:12 26:12,16     reasons 21:1          45:18,22 46:1    referred 14:19       72:19 90:16
  26:18 34:10          60:2                46:8,20 48:20      35:16 72:19        103:12
  45:19 56:9         recall 10:2           50:18 57:20      referring 11:12    remembered
  66:14 68:14          15:12 20:21         58:2,12 59:1,4     11:18,21 12:21     20:21
  87:1,2 89:5          22:3 24:20          59:12,15,15        13:2,10,22       remind 8:11,13
  96:22 113:13         25:6,17 26:20       61:4,12,15,21      15:6 27:4          27:17
  117:9 120:17         33:6,19 34:1        62:2,10,13,22      35:11 40:10      removed 27:11
  121:20               39:5 60:17          63:3,9,13,18       54:8,13 56:4     repeat 9:6 37:17
 questioned 35:7       72:15 73:13         65:3,3,9 66:18     58:6 87:13         113:11
 questions 5:12        129:19              66:19 67:9,14      95:2 108:4       reported 136:7
  12:10 126:20       received 26:20        68:7,22 69:9       109:4 118:1      reporter 5:14
  126:22 127:9         31:15 70:17         69:13 70:2,8     refers 79:17         6:21 7:5 8:8
  130:17 134:10        71:1 109:11         73:9,12,15,22    refresh 14:22        136:8
  135:3              recess 46:13          74:3 75:4,14     regard 59:2        REPORTER'S
 quick 36:3            66:2 113:19         75:21 79:7,14    regarding 15:16      136:1
  40:18 46:5,7       reclassified          79:22 80:6,11      50:16 51:6       represent 6:14
  65:18 113:14         114:10              80:21 81:18      regional 106:12      7:20 57:21
  127:9 130:16       recognize 9:13        82:1,7,22 83:8   regulation           58:2 70:16,22
  134:13               36:4,11,14          83:12,16 84:8      41:12,16           111:1 124:11
 quickly 70:19         70:20 130:20        84:21 88:15      regulations          131:3
  125:18 130:14        131:14              89:16,21 90:19     31:22 40:20      representation
 quite 14:20 23:2    recollect 59:18       90:21 92:9,18      41:4 63:5          134:6
  24:12 27:9           86:12               93:8,21 94:4     reimbursement      representative
  82:13 100:4        recollection          95:1,9,9,21        36:9 42:3          28:6 29:16
                       9:22 15:1           96:9,16 98:11    rel 1:11             30:2 34:21
         R             20:15 21:15         101:20 114:14    relate 75:12         117:12
 R 6:1                 28:13 33:7          115:19,21        related 2:13       representatives
 rates 43:20           55:17 86:8          116:5,5,13         6:17 7:22 27:7     17:4 28:2
 read 23:16            87:3                126:8,14           28:8 52:19         29:22 123:13
   129:2             reconsider            127:12 128:1,6     129:17           representing
 reading 5:16          104:11 114:7        128:6,7,10       RELATES 1:10         6:16,20 7:3
   32:14 90:3          125:11              129:14 130:15    relating 17:8      request 24:8
 reads 66:14         reconstruct           131:2,5,9        reliable 94:13     require 65:3
 real 40:17 60:13      21:7                134:21           relied 62:13       required 61:15
 really 30:15        record 7:10         reduction 44:7       93:20,21 94:2    resaved 114:21
   61:2 65:7 88:8      24:11 46:12,14    reevaluated          94:2,6,9         reserved 5:12
   100:10 120:16       65:22 66:3          114:16           rely 65:3 69:15      5:17
 reason 32:19          70:12 113:18      refer 79:17          69:15 94:17      resources 73:8
   63:1 92:13          113:20 131:3        84:18 91:4         129:8            respect 13:14,22
   95:19 106:5         135:9               119:6 128:5      relying 50:18        14:15 22:5,10
   109:12 112:18     red 4:11 15:4,5     reference 13:8     remained 114:5       24:21 28:6
   122:7               15:6,11,20,22       42:13 46:8         114:10 115:10      32:5 56:3
 reasonable            16:5,6,8,9,16       66:17 88:9         115:14             69:21 75:22


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 51 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                 October 16, 2009
                                         Nashville, TN
                                                                                             15

   80:13 86:2          84:16 85:4          126:2          second 43:1        selection 131:20
   87:4 101:4          86:21 87:16       RPR 136:21         47:19 60:20      selections
   102:5 109:14        88:13 89:18,22    Rudy 3:11 6:10     82:15 108:18       133:19
   110:18 115:17       93:21 94:4,15     rule 8:15 50:15    129:21           send 23:16
   117:21 120:14       95:6,19 96:20       51:5,8,9 52:8  section 10:21        33:20
   122:14 123:7        96:21 99:11,16      95:2,3 118:8     40:19 41:22      sense 21:4 63:14
   125:12              99:21 100:20        118:14 120:14    129:16             98:4
 respective            100:21 101:20       122:14,19      sections 25:17     sent 12:18,20
   102:19              102:3 107:3,10      123:2,9 124:16 secured 73:19        13:17 23:7,11
 respond 10:19         107:19 109:5,8      124:21 125:1   see 14:8 21:21       40:4 107:13
 response 127:10       110:10 111:9        125:11,15        25:16 33:19        109:7 110:6,22
 retail 97:14          112:8,16 113:5    rules 5:7 8:4      40:19,21 41:2    sentence 41:3
 retrievable           113:10,12           51:1 99:16       42:4,11,14,15      43:5,7 66:13
   74:15,18            114:17 121:3,6    Rx 111:16          43:5,11 47:3,9     108:18 129:2
 retrieving 71:21      121:11 122:10                        47:19,22 49:3    separate 109:17
 reused 114:22         124:18                    S          49:12,15,19      September
 reveal 15:14        RMR 136:21          S 6:1              51:10,11,12,16     29:13
   25:9              roughly 18:20       SAD 42:4           51:17,18 70:19   series 70:17
 review 9:21 11:3    route 94:7          SADMERC            75:8 76:8,15       72:16 97:19
   14:17 27:20       routine 78:9          42:4             78:19 79:22        111:16
   37:8              routinely 31:19     SAITH 135:12       81:22 82:16,20   serve 7:13
 reviewed 14:22        57:5              save 23:20,21      83:5,12 84:7     server 75:3,5
   22:15             Roxane 1:21         saw 110:7          91:10 101:22     set 31:17 41:17
 reviewing 21:14       2:12 4:10,11      saying 8:12 32:7   106:5,22           43:20 44:1
   26:19               4:12,13,14 5:2      55:5 93:6        107:14 108:14      68:17 77:6
 revised 37:11         6:16 7:20 9:8     says 41:18 42:1    109:1 111:3,6      113:5 116:6
 rid 74:4              9:11 26:1           42:22 43:8       111:15,18,22       136:18
 right 13:10 19:1      35:22 36:7,21       76:11 95:15      113:15 118:4     sets 41:8
   20:12,13 23:12      37:2 40:17          99:18 111:4,16   119:21 120:19    setting 33:10
   29:5,19 30:7        46:16,19 49:9     scenario 99:14     126:5,11 128:3   seven 91:22
   32:17,18 37:1       49:12 57:21         112:20,21        128:22 129:16    shared 105:17
   39:22 41:9          61:5 66:8           121:21           130:2            sheet 79:11
   42:18 44:12         67:22 70:10,11    schedule 35:3    seek 99:9            111:3
   45:16 48:5          70:13 75:17       Scope 42:1       seen 36:5 45:8     shook 27:14
   49:10 52:2          78:16,19 83:15    screen 131:4,8     67:22 89:21      Shorthand
   59:12 60:10,14      83:21 101:18        132:4,7,13       92:8 97:20         136:7
   61:5,6,9 64:8       102:5,11,20         133:8,13,15      99:4 101:7       showed 114:13
   64:17,22 69:2       108:8,9 110:13      134:21           110:17,20          115:2
   69:6,11,12,19       110:14 116:3      screens 81:3,5   segments 89:18     sic 6:8
   74:16 75:15         116:11,18,22      SDV 89:2         select 133:3       sign 9:16 62:1
   76:4,7 77:14        117:11,12         search 4:15      selected 62:16     SIGNATURE
   79:1,9 80:1,8       124:3,14 125:2      60:15 131:1,6    62:18 79:10,13     135:15
   80:22 81:6          125:20 129:20       132:4 134:21     79:15 132:14     signed 22:15
   82:8,12 83:18     Roxane's 83:10      searches 60:10     132:15           significantly


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 52 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                  October 16, 2009
                                         Nashville, TN
                                                                                              16

   113:4,8           speaking 19:11        109:13              30:15 31:2       130:15
 signing 5:16          93:6              states 1:1,11 2:5     34:4,12,17     Tape 65:22 66:4
 similar 30:21       special 63:13         6:5,19,20           36:19 53:12    tapes 65:19
   31:1 48:22        specific 20:15        44:16               61:1,2 63:22     135:9
   73:16,17            21:15 28:12       statutes 52:4         87:21 104:5    technically
   134:15              70:21 77:12       step 11:2 42:22       110:21           99:14
 simplest 56:17        79:18 85:3        steps 134:18        surprise 91:11   teleconferences
 simplify 120:19       86:8 87:2         Stone 52:10           91:15,18         33:8
 simply 57:17          100:9,12          stop 40:12 45:4     surprised 24:14  telephone 66:17
   65:4 115:4        specifically          52:7 90:3         swear 5:15 6:22    67:5
 single 22:14          16:11 21:1        stopped 102:10        7:6            tell 13:18 15:10
   25:18 89:1,7,8      35:11 53:9        storage 75:9        switch 60:18       36:3 51:17
   107:22 120:7        63:6 85:12        stores 71:16        switched 50:10     89:6
   120:20              89:15 111:5       Street 2:16           60:3           telling 41:12
 sit 86:7            specifics 68:18     strength 133:22     sworn 7:8          82:22 83:17
 situation 20:21       103:13            strictly 19:8         135:17 136:4     84:2,21 85:2
   73:15 120:20      specified 43:5        53:18 59:7        system 23:20       92:9
   121:3,8           speculate           SUBCATEG...           74:13          tells 82:6
 situations 52:12      123:10              1:11                               Tel-Drug 98:3
   57:9              spoke 59:10         submitted 9:12              T        Tennessee 5:6
 six 18:14,14          72:15             subpoena 78:12      T 7:15 127:6       5:15 6:12
   49:15 50:1        spoken 22:10        subpoenaed            134:11           136:9
   130:3               28:5                78:10             tab 80:10        term 52:18 54:9
 size 94:10          spreadsheet         Subscribed          take 9:2 11:1      85:16 87:15
 sizes 84:1,18         13:18,21,22         135:17              13:16 18:21      111:21 120:12
   102:19              73:6              subscription          24:15 25:16      121:9,18 122:7
 Smith 3:11 6:10     spreadsheets          61:16               36:3 40:17     terms 16:16
 sold 101:14           13:17 73:4,5      subscriptions         46:5,6 56:17     17:18 20:11
 solely 76:14          105:12,13           74:9,11             65:18 70:8       31:11 39:4
 solution 79:15      staff 55:21 67:2    subsequent 74:3       75:17 76:3,17    68:8,19 88:7
   79:21 91:14         105:6             subset 73:13          85:6,10 108:3    102:2 105:20
 somebody 99:9       stand 21:20           74:14               110:12 113:14    109:19
 sorry 10:15 12:7    standards 19:13     sufficient          taken 1:21 5:2   tested 105:18
   16:22 18:1        standpoint            123:12              136:5          testified 7:9
   27:16 128:16        17:10,11 62:5     suggest 123:1,3     talk 50:13 81:4    26:5 28:2
 sort 19:17 28:20      119:19            Suite 2:7             82:14,14       testify 118:9
 sounds 65:13        stands 90:18        sulfate 27:7        talked 15:3        136:4
 source 41:5 43:9    started 59:22       sulfide 54:16         49:22 85:22    testimony 7:13
   62:18 78:18         62:17 63:3        summer 73:14          94:22 128:20     7:14 27:21
   94:13 119:20        73:22               75:1              talking 8:20       57:12 85:22
   126:4             state 5:15 6:14     sure 8:6,15 11:7      14:11,18 18:17   127:10 130:1
 sources 41:7          24:10 136:8         14:11 17:15         54:16 58:22      136:6,10
   42:22 63:18,20    stated 30:6           23:4,9 24:6,17      69:22 98:10    Thank 126:20
 speak 8:16          statement 41:15       26:3 27:9           124:16 129:19    127:1 128:17


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 53 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                  October 16, 2009
                                         Nashville, TN
                                                                                              17

   135:5               46:12,15 59:12      45:11,12           119:14           45:1,2
 Thanks 113:16         59:16 62:8        training 18:7,13   typing 132:2      use 7:5 43:4
 theoretically         64:19 65:7,22     transactioned                         44:8 62:20,22
   113:9               66:4 67:11          29:12                   U           63:5,9 64:10
 therapeutically       68:21 74:8        transcribed        uh-huh 8:12        69:13,16 76:13
   91:13               82:2,11 86:3        136:11           unaltered 115:7    93:4 97:22
 things 54:17          86:21 87:5        transition 38:5    underlinings       98:2 100:13
   65:6,11 96:15       88:3,17 89:5,6    transitioned        87:14             126:7
 think 8:17 14:8       92:7 93:7           59:11 69:9       underneath        user 74:1
   14:9 18:14          103:14 104:11       71:22             48:3,13 49:4     usually 23:15
   23:3 24:13          110:9 113:15      transmittal 4:13    51:7,22 81:8     U.S 2:3 9:19
   27:16 30:14         113:18,21           12:19 15:16      understand 9:4
   40:4 41:18          114:13 115:1        42:14,17 56:4     14:20 15:1               V
   45:10,17 52:9       115:15 122:13       72:18 106:6       17:15 36:16      v 1:13
   53:3 55:4           123:13 124:9        108:4,12          50:14 51:4       valid 74:10
   60:19,19,20         126:8,15,20       transmittals        53:12 54:8,12    Valium 119:8
   61:20 62:21         127:2,12 128:2      35:13 40:16       55:4 67:6 82:3   variety 47:5
   63:1,2,22           135:1,6,10        true 125:10         86:18 120:16     Ven-A-Care
   66:16 68:12         136:6               134:3            understanding       1:12
   74:17 89:12       times 12:9 57:6     try 8:11,13,16      30:18 39:11      verbal 8:7
   100:11 102:10       81:13 102:8         9:22 10:12        41:16 47:15      verify 115:8
   103:3,7 118:16    Tipps 5:4 6:12        17:21 28:19       56:6 62:12       version 15:21
   123:15            title 35:18 57:11     34:3 39:13        99:15 100:1,5      16:2,5,6 25:18
 thinking 26:22        98:20,22 99:18      68:15 75:3        100:8,9,14,22      46:21 70:22
   27:10 53:4          102:2,12            99:10 127:5       109:21 119:13      75:7 95:10
   87:7,11             107:18,19         trying 36:16       understood          129:14 131:4
 third 111:12          111:6 120:10        37:3 51:4 54:7    82:11 86:20      versions 15:7,12
   121:8,20            120:12 121:10       54:12 78:15      uniform 30:11       24:3,20,21
 thirdhand 49:1      today 6:10            133:20            30:17 31:5         60:4 74:19
 thought 35:5          14:10 50:7        turn 66:10 84:5    uniformity          75:9 126:14
   72:3 104:14         72:16 86:7          125:20 134:5      32:21            versus 10:8
 three 49:16,17        125:19            turned 113:7       United 1:1,11       13:15 14:16
   58:1,9 84:7,16    Today's 6:7         two 25:21 26:12     2:5 6:5,19,20      15:2 17:9 18:7
   84:20 85:4        told 65:12 92:19      51:3,10 58:21    unpublished         20:12 21:2,8
   122:21              93:2 117:3          102:14 105:17     76:12              24:22 28:7
 three-year          top 42:22 48:12       121:14 135:9     unsure 103:4        45:6 47:12
   104:1               49:16 66:13       type 11:20 36:17   update 20:8         60:14 78:7
 time 6:8 9:1          83:16 109:10        36:18 53:22      updated 114:6       85:18 95:9
   13:3 16:17          111:3               122:14 131:19    updates 42:3        112:20 116:1,5
   19:3,20,21        topics 26:13          133:22            69:15,16 126:8     116:20 118:21
   20:19 27:18,18    touch 25:10         typed 132:6         127:13,17          119:15
   28:22 29:13,18    trade 100:8,15      typewriting         128:10           vial 89:2,7,8
   33:12 34:3        train 17:12           136:11           upper 46:22       video 6:8,10,11
   37:12 44:10,13    trained 18:4        typically 119:6    uppercase 44:18   Videographer


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 54 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                                 October 16, 2009
                                         Nashville, TN
                                                                                             18

   3:11 6:2,21 7:5   week 70:18           95:12 96:1,11     134:11           10:01 46:15
   46:11,14 65:21    went 11:7 16:21      99:4 100:4,17                      10:24 66:1
   66:3 113:17,20     16:22 21:5,5        102:16 103:12           Y          10:29 66:5
   127:3 135:7        37:14 38:2          117:17 118:16    Y 85:3            100 36:1,21
 Videotape 6:3        105:16              119:1,17         Yeah 86:18          40:17 44:13
 videotaped 1:19     weren't 38:15        120:16 123:9     year 16:12,15       66:9 67:22
   5:1                61:21 72:22         125:15 135:15      43:14 124:4     100-04 37:15,19
 view 122:9           119:5,12 124:6      136:2,7,17         125:3           101 3:6
 Volume 6:2           126:10,12          witnesses 27:20   years 15:12       10178 3:7
   135:8             we'll 14:8,9        word 23:7,9         16:18 63:22     108 4:13
                      24:13,15 50:13      84:14 87:14        88:21 122:21    11:21 113:18
        W            we're 9:2 13:1       131:21           yes-or-no 92:1    11:30 113:21
 wait 8:18            14:11,18 18:16     words 16:18       York 3:7,7        11:52 135:10,11
 waived 5:10          58:22 69:22         52:14 57:17      Y/N 82:2          110 4:14
 Walgreens            79:12 98:10         68:10 98:14                        117 136:11
  97:16,18,20,21      108:7 134:13        99:19 114:7,22          Z          12 76:8
  97:22              we've 15:3 46:6      121:14           Zenith 26:8       127 4:6
 walk 46:7            46:18 70:12        work 28:18         49:11            13 10:20 125:21
 Walker 5:4 6:11      124:16 128:19       30:16,19 33:14                     13th 111:8
 want 81:4                                                        $
                      130:14              37:3 45:5 51:3                     130 4:15
 wanted 8:3                                                $3.34 32:8
                     WHEREOF              51:8 118:20                        131 4:16
  46:21 47:11         136:17             worked 8:2 17:7          0          134 4:7
  49:8 63:8 73:3     whichever 44:1       28:15,20 32:11                     14 10:21 127:4
                                                           01-12257-PBS
  73:8 125:18        wholesale 1:5        37:10 47:16                        15 27:5,8
                                                             1:9
  133:4               6:5 10:6 11:15      50:15 64:5                         15th 6:8
                                                           0102 134:6
 warehouse            41:6                65:8                               150 5:5
                                                           0110 134:14
  71:13,15,18,21     Windows 79:8        working 62:17                       16 1:22
                                                           0111 81:3 82:16
  72:3                127:12,18          wouldn't 32:19                      16th 5:3
                                                           01110 79:6
 Warren 3:5 7:3       130:15 131:5,9      35:8 50:2 58:9                     17 26:7 37:15
                                                           01111 80:5
 wasn't 18:15,21     withdraw 96:22       77:12 78:5,17                      19th 136:18
                                                           01119 80:5
  19:4 32:13          113:13              79:1 88:12                         1990s 59:17,19
                                                           0118 84:6
  34:11 63:13        witness 4:2 5:15     91:17,18,21                        1993 16:21
                                                           0119 84:7
  88:8 107:16         5:17 6:22 7:6,8     92:2,18,21,22                      1998 43:8
                                                           02 79:15
  110:4,5 114:16      14:13 15:14,19      94:17 99:1                           108:12
                                                           02210 2:8
  120:10              21:11 22:7,19       109:15 114:7                       1999 29:3 42:17
                                                           034-0463 42:21
 way 2:7 28:3         25:8 26:14          114:10 116:4                         43:16 45:16,17
                                                           06-11337-PBS
  48:18 50:5          27:14 28:10         116:11,18                            75:19 127:21
                                                             1:12
  57:16 61:1          29:21 31:14         117:6,7 121:22   07-10248-PBS             2
  73:2 84:11          38:10 40:2          123:1              1:15
  87:21 99:5          46:10 50:9,21      writable 24:1                      2 42:22 66:4
  100:19 101:3        58:11 59:6         writes 108:18            1           108:18 126:1
  115:20 136:14       62:5 65:20                          1 2:7 6:3,3 65:22   128:21
 website 38:4,6       68:12 70:6                X                           20 135:18
                                                            135:8 136:10
  38:18 76:22         73:2 86:5,12       X 4:1 7:15 127:6                   2000 38:10


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
      Case 1:01-cv-12257-PBS Document 6617-6 Filed 10/29/09 Page 55 of 55
30(b)1 and 30(b)6 Deposition of Helton, Carolyn                  October 16, 2009
                                         Nashville, TN
                                                                              19

   59:22 60:17,18    265 4:15 130:18       87:12
   60:20,22 61:3     266 4:16 131:12     800 66:18
   69:8 76:8,14        131:14            8402 49:17
   79:7 83:12                            8404 49:18
   84:6 127:22               3             57:22 130:10
 2001 18:20          3 16:22 66:10,14
   19:20 33:15         83:7                      9
   34:3 46:20        3/11/2011           9 4:10 84:5,17
   57:20 59:4          136:22              86:10 87:12
   110:9 123:14      30(b)(1) 1:18       9:02 5:4 6:9
   126:1 129:13        7:12              9:54 46:12
 2002 38:11          30(b)(6) 1:18       9200 2:7
   111:9,11            7:13              94 16:22
 2003 29:3,3,7,9     300 2:16            95 44:11,12
   126:2             31 26:7 125:22      99 60:21
 2004 18:20            126:5             9963 42:15
   19:21 33:15       312.862.2285
   34:3 43:21          2:18
   50:5 59:17        362 49:2
   75:19 110:10      368 46:22 47:8
   123:14              49:9,13 58:1
 2006 29:13            129:12
   71:22 72:5,8
   72:12                     4
 2009 1:22 5:3       4 16:21 126:2
   6:8 16:2          41 36:7 37:2
   127:20 136:18     46 4:11
 212.808.7697                5
   3:8
                     5 83:11 101:19
 2300 5:5
                     529 108:7
 255 70:14
 260 4:10 9:8,11             6
   125:20            6 83:16,22
 261 4:11 46:16        101:20
   46:19 61:6        60654 2:17
   129:11            617.748.3298
 262 4:12 70:10        2:9
   70:11 75:18
   133:11,13                   7
   134:5             7 4:5
 263 4:13 108:8,9    70 4:12
   128:18
 264 4:14 110:13             8
   110:14            8 84:5,17 86:10


                             Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
